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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        WEST PALM BEACH DIVISION

    FANE LOZMAN                                         )
              Plaintiff,                                )
                                                        )       Case No. 9:22-cv-801 I 8-DMM
    V                                                   )
                                                        )
    CITY OF RIVIERA BEACH, FLORIDA                      )
                         Defendant.                     )
                                                        )

                    AFFIDAVIT OF GEORGE CHAPMAN ("CHAPPY") YOUNG. JR.. PSM

    STATE OF FLOzuDA

    COTINTY OF MARTIN

                   BEFORE ME, the undersigned authority, duly authorized to administer oaths and take

    acknowledgements, personally appeared, George Chapman Young, Jr., who after by me first duly

    sworn, deposes and says:

                   1.    My name is George Chapman Young, Jr. and I am a Registered Professional

    Surveyor and Mapper, registered in the State of Florida, having Registration Number 3036 and am

    a competent adult over the age of 18 and able to give testimony in a Court of Law. I am attesting

    to the information contained within this Affidavit based upon my own personal knowledge.

                   2.    On July 4,2022,I personally e-mailed the attorney in the unrelated case referred to

    in Defendant's Motion to Continue Trial to determine whether I had a conflict that would have

    precluded me from providing expert services in the above-captioned matter.

                   3.    On July 29, 2022, the attorney in the unrelated case indicated that I did not have a

    conflict.

                   4.    On Augu st 5 ,2022, Defendant's counsel sent me a title search report for 5 l 0 l North

    Ocean Drive, Riviera Beach, FL 33408 (Plaintiff s Properry).




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                                              EXHIBIT "1"
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                   5.   Since August 5,2022,I have visited Plaintiffs Property at least twice to conduct

    research or supervise surveying of Plaintiff s Property.

                   6.   Since August 5,2022,I have been reviewing historical deeds within the title search

    report, as identified below.

                   7.   I have discovered serious discrepancies within the title search report and related

    historical records related to Plaintiff s Property.

                   8.   After extensive research into the Boundary of Lozman's property Quit Claim Deed

    (ORB 2866, Pg 1 544 - Exhibit A) and the "TITLE SEARCH REPORT" by Attorneys' Title Fund

    Services (Exhibit B, with instruments), it is apparent that the Boundary is not easily reconciled,

    as determined by the following facts, to wit.:

                        a.     The root of title in the "chain of title" shown in the said TITLE SEARCH

    REPORT for the Lozman's property is the submerged land as described in TIIF DEED No. 17146

    (EXHIBIT C, Item No. 2). This deed cites and says explicitly that the point of beginning of the

    legal description of TRACT NUMBER f . is based on the SE corner of Section22, Township 42

    South, Range 43 East,           ase    blished bv Williom J. Reves, Deoutv United         Survevor in

                                                                                                        ))
                                                    States Government                     r
    (EXHIBIT D - Township Plat)

                        b.     The history of the currently "commonly used" SE corner of said Section 22

    used in the Lozman's Q.C. Deed identified above is of concern. This commonly used Section

    Corner may control the placement of the North Line of Lozman's claim of ownership.

                        c.     The history of the curently "commonly used" SE corner of said Section 22

    was discovered to be placed by Butler Barnett and Taylor (BB&T), Civil Engineers and Surveyors




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    in 1915 (BB&T Field Book, pages 17-18, EXHIBIT E) by prolonging, or extending, the south

    line of Section 20 eastward across the waters of Lake Worth to set said SE corner of Section22.

    This 'commonly used' corner set by BB&T has been used by surveyors to establish the north

    boundary as described in Lozman's Q.C. Deed.

                            i. The proper method of establishing a "Lost" Section Corner does not agree
    with the method used by Butler Barnett and Taylor in 1915. The proper method is mandated blz

    the "Manual ofS                    Instructions" published by US Department of the Interior, Bureau of

    Land Management (BLM), Cadastral Survey. (see 8., c., ii., l. - below). The BLM is the successor

    to the General Land Office (GLO). The GLO was the Federal Agency responsible for surveying

    the Public Domain and setting the original Section Corners (including the SE Corner of said

    Section 22, T475, R43E) and this "commonly used" Section corner was set incorrectly as stated.

    ((see 8., c., ii., l. - below)).

                            ii. The "Federal Act of I 805" is instrumental in this Survey of the Lozman's
    north and south boundary lines and is characterized by the following statement:

                                         1.     The Act of February I   I, 1805, crystallized the prtnciples of
    the Public Land Survey System. The act is codified in Chapter l8 of Title 43 of the United States

    Code ond is still law. The Act settled several basic principles of the subdivision of townships and

    sections (1) Corners and lines estoblished bv United States survev are to be held as coruect ond

    DroDer corners and lines. No subseq uent survev can coruect the corneF .....

    The proper reestablishment of these corners matters because the Act of February 1 1, 1805

    stipulates that the corners set and the lines as marked in the original General Land Office surveys

    control the boundaries of lands patented by the United States.




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                         d.      Similarly, the history ofthe "currently used" North Line of Government Lot

    l, Section 10, T 42 S, R 438 is in doubt and this line may control the south line of the Lozman's
    claim of ownership. Research recently discovered by the signing surveyor indicates that the

    "commonly used" monumented North Line of said Government Lot 1 of Section 10 was also

    established incorrectly. (see 2., c., i. above) Recent research shows that the now "commonly used"

    North line of said Government Lot One (l) was also placed by Butler Barnett and Taylor (BB&T),

    Civil Engineers and Surveyors, Civil Engineers and Surveyors in 1915, (BB&T Field Book, pages

    12-15, EXHIBIT F) by prolonging, or extending, the south line of Section 6 eastward across the

    waters of Lake Worth to set said North Line of Government Lot 1 in said Section 10. This

    "commonly used" corner set by BB&T has been used by surveyors to establish the south boundary

    as described in Lozman's Q.C. Deed and was also set incorrectly. (see 8., c., ii., l.      - above)
                        e.      Compounding the problems with the Lozman's Q.C. Deed's legal

    description and those within the Title Report chain of Title, the signing surveyor has recently

    discovered an apparent "Boundary Line Agreement" document, as recorded in Deed Book 306,

    Page 220 (presumably recoded in Dade County, FL, public records). (EXHIBIT H)

                               i. This instrument is between Lake Worth Realty Company and Fred A. F_
               (? illegible) and F. ?. J___ (? illegible), dated May 1_ (? illegible),192 _ (? illegible). This

    Boundary Line Agreement apparently addresses the disputed south line of Section 22,T425, R43E

    and agrees on the "commonly used" South East corner of said Section 22, as projected or extended

    across the waters of Lake Worth.




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                                  ii. The signing surveyor wishes to confer with an authorized Title Examiner,
    or Real Estate Attorney on the significance of this Boundary Line Agreement relative to the TIIF

    Deed No. 17146, which was not a party to this agreement.

                                 iii. In addition, the signing surveyor is unsure if this Boundary Agreement is
    directed to the upland properties of the involved parties, or that of submerged lands. possibly

    owned by the involved parties. Either wtry, the signing surveyor does not believe that this

    Boundary Line agreement negates or revokes the TIIF Deed No. 17146 or the legal description

    contained therein, which is the basis of the Lozman's claim of ownership.

                   f.        There is an unresolved issue with the Lozman's Q.C. Deed legal descriptions that

    describes the western boundary being: " ....when produced West to the channel of Lake Worth."

                           i.       This issue is also documented on the "Boundary Topographic Survey" by

    Legacy Surveying and Mapping, Inc., dated April 29,2019, and "PREPARED FOR: LANE

    LOZMAN ". (EXHIBIT G) Said Boundary Survey by Legacy shows the western boundary line

    is the same as the centerline of the INTRACOASTAL WAERWAY,agreat distance west of the

    western boundary of the TIIF DEED NO. 17146.

                           ii.      Further research by the signing surveyor is needed to investigate the

    existence of any "Channel of Lake Worth" at the date of the first instrument reference to same,

    that may exist in legal descriptions contained in the instruments in the Chain of Title.

                   9   .     Thus, as a result of the above multiple complexities regarding Mr. Lozman's claim

    of ownership, the determination of Mr. Lozman's correct No                      South and West orooertv

    boundaries lines are still unresolved.




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                   10.      Finally, the procedures needed to resolve the issues described in paragraph 8. (a.-

    e.) above is called "Retracement Surveying" by a qualified Surveyor. GCY, Inc. has such a

    qualified surveyor on staff. His name is Corwyn ("Corky") James Rodine. Corky is a retired BLM

    Cadastral Surveyor for the Federal Government and has spent his entire career working for the

    BLM conducting "Retracement Surveys" for the BLM. Mr. Rodine resides in Arizona and works

    for GCY, INC. remotely from his home providing direction and proper determinations of GLO

    corners and lines run, based on the Manual of Surveying Instruction, as mentioned above.

                   1   1.   To conclude, the Retracement Survey and to finalize the Boundary Survey for the

    Lozman's claim of ownership would take an estimated two (2) months of additional survey

    investigation, field work and mapping.

                   12.      According to my preliminary research, Plaintiffs property may be different than

    described within the Palm Beach County's Property Appraiser's Office by potentially several acres

    due to the discrepancies mentioned above.

                   13.      To properly determine the boundaries of PlaintifPs property, I require the expertise

    our surveyor Mr. Rodine, who can adequately conduct a Retracement Survey on the GLO surveyed

    lines that govern the Plaintiff s Property.

                   14.      Moreover, I must conduct more research into the historical records of the

    development of Highway A 1A, as well as 'oborrow pit" sites, to determine the date that certain

    channels within Plaintiff s Property were created. There is a high likelihood that one of these

    channels may be the western boundary of Plaintiff s property as legally described. I require two

    months in order to conduct the historical research to determine the nature of the channel(s)




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    mentioned above as well as coordinate with Mr. Rodine's expertise to determine the proper

    boundaries of Plaintiff s property.




    FURTHER AFFIANT SAYETH NAUGHT




                                                                             Young, Jr PS


    ATTACHED EXHIBITS: A, B, C, D, E, F, G & H



    STATE OF FLORIDA




                                                      4
    COUNTY OF MARTIN

    Sworn to and subscribed be fore m^e by means of        ysical pre sence or _ online notarization
    this t3- day of idff; 2022 by     Gzcrq*
                                          U
                                             C, Qour',q " :l-ia,            , who is personally known
    to me


                                                                            e
                                                        NOT        Y PUBLIC, State of Florida


                                                          L* rt €, A"tl"r
                                                              a-
                                                                   t



                                                        NOTARY (print name)
                                                                                           LAURIE E. HESTER
                                                        My commission                                               97
                                                                                           Expires Augusl10,2024
                                                                                          Bonded Ihnt Tmy Fain lnsurance 800-3857019




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                                                         CFN 20160151491
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                                                                                                           OR BK 28266 PG 1544
                                                                                                           RECORDED 05/02/2016 13:39:08
                                                                                                           Palm Beach County, Florida
                                                                                                           AMT 10.00
                                                                                                           DEED DOC 0.70
                                                                                                           Sharon R. Bock
     This instrument was prepared by or under the supervision of and after recording                       CLERK & COMPTROLLER
                                                                                                           Pgs 1544-1546; (3Pgs)
               Brenda Fernandez, Esq.
               Greenberg Traurig, P.A.
               033 SE 2nd Avenue, Miami, FL 33131

     Prop�ppraiser's Parcel
     ID#: 5�.$42-22-00-001-0200




                                                                                       (Space Reserved for Clerk of the Court)



                                                        QUIT CLAIM DEED
                             C>
           THIS QU        LAIM DEED is made the 2J111 day of April, 2016, between FANE
    LOZMAN, TRU            OF THE RENEGADE TRUST DATED FEBRUARY 3, 2014,
    ("Grantor" or "First         "), whose address is 2913 Ave. F, Riviera Beach, FL 33404, and
    FANE LOZMAN, a si..........,,,.,..an, ("Grantee" or "Second Party") whose address is 2913 Ave. F,
    Riviera Beach, FL 3340 � 0

                                          �              WI T N ESS E TH

            GRANTOR, in conside�of Ten and No/100 Dollars ($10.00) and other good and
    valuable consideration paid by q�tee, the receipt and sufficiency of which are hereby
    acknowledged, does hereby remise�leases and quit-claims unto Grantee, and Grantee's heirs,
    successors and assigns forever, all o� right, title, interest, claim and demand which Granter
    has in the following property located� Beach County, Florida ("Property"), to-wit:

               See Exhibit "A" attached here�by this reference made a part hereof.

            TOGETHER with all the tenements, hereditaments, easements and appurtenances
    thereto belonging or in any way appertaining.

          SUBJECT TO, taxes and assessments for the current year and subsequent years and
    easements, restrictions, reservations, limitations and other matters of record, without hereby
    reimposing the same.
                                           (signatures appearing on following page)

    NOTE TO RECORDER AND TAX EXAMINER: THIS CONVEYANCE IS NOT SUBJECT TO THE
    PAYMENT OF DOCUMENTARY STAMP TAX PURSUANT TO FLORIDA ADMINISTRATIVE CODE
    RULE 12B-4.013(28)(e) AS THE PROPERTY BEING CONVEYED IS 100% OF THE GRANTEE'S
    BENEFICIAL OWNERSHIP INTEREST AS A TRUST BENEFICIARY IMMEDIATELY BEFORE THIS
    CONVEYANCE.

    MIA 1852S8273v2




                                                      EXHIBIT A
                                                         CFN 20160151491
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                                                                     BOOK 28266 PAGE 1545
                                                                     2 OF 3




                                    Ivly commission expires on: ______________
                                                                               ______
                                    Commission Nmnbcr:       ---------




                                       .....


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                                                        CFN 20160151491
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                                          EXHIBIT "A"

                                    LEGAL DESCRIPTION
   �
  A �lf land approximately 300 feet in width from North to South, extending from the
  West�!fight-of-way line of State Road 703 to the water's edge of Lake Worth, lying between
  two Eas       West lines, the Northerly boundary line thereof being parallel to, and 3,465 feet
  (measureiight angles) North of the South boundary line of Sections 22 and 23 in Township
  42 South, �� 43 East, as determined by producing the South boundary line of Section 21 in
  said Towns�d Range Eastward across the waters of Lake Worth and the land lying between
  Lake Worth�� Westerly right-of-way line of State road 703 to said Westerly right-of-way
  of State Road� and the Southerly boundary thereof being parallel to, and 12,900 feet
  (measured at right�les) South of the North line of Government Lot 1, Section 10, Township
  42 South, Range 43:East, together with all riparian and littoral rights thereunto appertaining;
  together with all righ�, interest, claim and demand of the first party in the submerged land in
  Lake Worth lying betw        e North and South boundary lines of the above described tract when
            .
  produced West to the en� of Lake Worth.
                             �o

                             ®
                               �
                                  �

                                     (Q

                                       �




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                                      TITLE SEARCH REPORT


   Fund File Number. 1 265 094



   The information contained in this title search is beingfurnished by Attorneys ' Title Fund Services,
   LLC. Ifthis report is to be used by a title insurance agentfor evaluation and determination of
   insurability by the agent prior to the issuance oftitle insurance, then the agent shall have liabilityfor
  such work.


  Provided For: Lewis Longman & Walker, P.A.                    Agent's File Reference: City of Riviera Beach

  After an examination of this search the Agent must:


  A.     Evaluate all instruments, plats and documents contained in the report.


  B.     Include in the Commitment under Schedule B, any additional requirements and/or exceptions
        youfind necessaryfrom your analysis ofthe surveys, prior title evidence or other relevant
         information from the transaction.


   C.    Verify the status ofcorporations and limitedpartnerships and other business entities with the
         appropriate governmental agency or other authority.


  D.     Determine whether the property has legal access.


  E.     Determine if any unpaid municipal taxes or assessments exist, which are not recorded in the
         Official Records Books ofthe county.


   F.    Determine whether any portion ofthe property is submerged or artificiallyfilled, ifthe property
         borders a body of water, and ifriparian or littoral rights exist.


   G.    The information provided herein does not include a search offederal liens and judgment liens
        filed with the Florida Department of State pursuant to Sec. 713.901, et seq,, F.S., and Sec.
         55.201, et seq., F.S., respectively, which designate the Florida Department of State as the place
        forfilingfederal liens andjudgment liens against personal property. For insuring purposes:


           (a) Pursuant to Sec. 713.901, et seq., F.S., personal property includes, but is not limited to,
               mortgages, leaseholds, mortgages on leaseholds, interests in cooperative associations,
                vendees ' interests, and options when those interests are held by a partnership, corporation,
                trust or decedent's estate; and


           (b) Pursuant to Sec. 55.201, et seq., F.S., personal property includes, but is not limited to,
                leaseholds, interests in cooperative associations, vendees' interests, and options regardless
                of the type of entity holding such interests, including individuals. (Note: Mortgages have
                been specifically excluded from the personal property interests in which a judgment lien
                may be acquired under the provisions ofSec. 55.201, et seq., F.S.)


  Prepared Date: July 1 8, 2022                                                Attorneys' Title Fund Services, LLC


  Prepared by:     William Snyder, Commercial Examiner
  Phone Number: (800) 515-0155 x6406
  Email Address: B Snyder@TheF und .com




                                                    EXHIBIT B
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                                       TITLE SEARCH REPORT

   Fund File Number.     1 2 6 5 094



   Effective Date of approved base title information: January 1, 1900


   Effective Date ofSearch: July 6, 2022 at 1 1 :00 PM

  Apparent Title Vested in:


   Fane Lozman


   Description of real property to be insured/foreclosed situated in Palm Beach County, Florida.

   See Exhibit A


   Muniments of Title, including bankruptcy, foreclosure, quiet title, probate, guardianship and
   incompetency proceedings, if any, recorded in the Official Records Books of the county:


         1.     Patent from United States of America to John Brelsford, recorded April 18, 1889 in Deed
                Book C, Page 417, Public Records of Dade County, Florida.

         2.     Warranty Deed from Trustees of the Internal Improvement Fund of the State of Florida to
                The Lake Worth Realty Company, recorded May 9, 1924 in Deed Book 205. Page 82, Public
                Records of Palm Beach County, Florida.

         3.     Deed from Trustees of the Internal Improvement Fund of the State of Florida to R. M. Hart,
                recorded January 18, 1941 in Deed Book 621 , Pace 17, Public Records of Palm Beach
                County, Florida.

         4.     Warranty Deed from R, M. Hart and Maud Hart to Paul Deam, recorded February 5, 1941 in
                Deed Book 622, Pace 77, Public Records of Palm Beach County, Florida. (1/2 Interest)

         5.     Warranty Deed from R. M. Hart and Maud Hart and Paul Deam and Elsie Deam to Alan
                Nelson Jenkins, recorded April 9, 1941 in Deed Book 626, Page 445, Public Records of Palm
                Beach County, Florida.

         6.     Warranty Deed from Edward E. Jenkins to Lex Securities Corporation, recorded July 13,
                1945 in Deed Book 723, Page 91, Public Records of Palm Beach County, Florida.

         7.     Quit Claim Deed from Alan Nelson Jenkins to Lex Securities Corporation, recorded July 13,
                1945 in Deed Book 723, Pace 93, Public Records of Palm Beach County, Florida.

         8.     Warranty Deed from Alan Nelson Jenkins and Barbara H Jenkins to Donald A. MacDonald
                and Omah B. MacDonald, recorded January 26, 1948 in Deed Book 834. Paue 172. Public
                Records of Palm Beach County, Florida.

         9.     Warranty Deed from Lex Securities Corporation to Donald A. MacDonald and Omah B.
                MacDonald, recorded February 2, 1948 in Deed Book 8340^^6 574, Public Records of Palm
                Beach County, Florida.

        10.     Warranty Deed from Donald A, MacDonald and Omah B. MacDonald to Donald A.
                MacDonald and Omah B. MacDonald, recorded October 10, 1958 in O.R. Book 250. Pa.'jc
                561. Public Records of Palm Beach County, Florida.

        11.     Quit Claim Deed from Omah B. MacDonald, the unremarried widow of Donald A.
                MacDonald to Donald A. MacDonald, Jr. and Omah M. Kiser, recorded December 30, 1968
                in O.R. Book 1693. Paue 495. Public Records of Palm Beach County, Florida.


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        12.     In Re: Estate of Donald A. MacDonald, Jr., deceased: Order Authorizing Sale of Submerged
                Land under Case No. 90-1935, Circuit Court for Palm Beach County, Florida, Probate
                Division recorded in O.R. Book 7 1 09. Page 1 220. Public Records of Palm Beach County,
                Florida.

        13.     Personal Representative's Deed from Marion C. MacDonald, as Personal Representative of
                the Estate of Donald A. MacDonald, Jr., deceased to Omah Riser, recorded February 12,
                1992 in O.R. Book 7119 Paue 1958, Public Records of Palm Beach County, Florida.
                Personal Representative's Deed re-recorded in O.R. Book 7129. Page 492. Public Records of
                Palm Beach County, Florida.

        14.     Warranty Deed from Omah Kiser to Fane Lozman, Trustee of the Renegade Trust, dated
                2/3/14, recorded February 25, 2014 in O.R. Book 26631. Page 1846. Public Records of Palm
                Beach County, Florida.

        15.     Quit Claim Deed from Fane Lozman, Trustee of the Renegade Trust dated February 3, 2014
                to Fane Lozman, recorded May 2, 2016 in O.R. Book 28266. Page 1544. Public Records of
                Palm Beach County, Florida.




  Mortgages, Assignments and Modifications:


         1.     Nothing Found




   Other Property Liens:


         1.     General or special taxes and assessments required to be paid for the year(s) 2022.

         2.     FOR INFORMATIONAL PURPOSES ONLY: 2021 taxes were paid under receipt number
                B22.5 15436, on March 27, 2022, Parcel/Account ID No. 56-43-42-22-00-001-0200, the gross
                amount being $1633.56.




   Restrictions/Easements:



         1.     Any lien provided by County Ordinance or by Chapter 1 59, F.S., in favor of any city, town,
                village or port authority, for unpaid service charges for services by any water systems, sewer
                systems or gas systems serving the land described herein; and any lien for waste fees in favor
                of any county or municipality.

         2.     Rights of the lessees under unrecorded leases.

         3.     Reservations in favor of the State of Florida, as set forth in the Deed from the Trustees of the
                Internal Improvement Fund of the State of Florida, recorded in Deed Book 205 Pa»e 82,
                Public Records of Palm Beach County, Florida.

         4.     Amended Ordinance No. 1 04 1 dated December 1 8, 1 974 by the City of Riviera Beach
                establishing the City of Riviera Beach Bulkhead Line.




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         5.     Subject to the Right-of-Way of State Road 703 as now laid out and in use and as shown on
                Road Plat Rook 1. Pace 21 and Road Plat Book 6. Pace 1 1 , Public Records of Palm Beach
                County, Florida.

         6.     Riparian and littoral rights are not insured.

         7.     The right of the United States Government, in the interest of navigation and commerce, to
                regulate any portion of the Land that was formerly submerged by navigable waters.

         8.     Possible right of the public to use that part of the land between the water's edge and the
                apparent boundary of the upland parcel that is now, or was formerly, regularly used by the
                public for recreational purposes.

         9.     Rights of others to use, and rights of the State of Florida and United States governments to
                regulate the navigable waters covering the Land.

        10.     Despite any language herein to the contrary, this product may not be used for the issuance of
                a Title Commitment or Policy without prior approval from The Fund's Underwriting
                Department.

        11.     Completed IRS Currency Transaction Report (CTR) or proof that the subject transaction is
                exempt from the most recent FinCEN Geographic Targeting Order. The issuing agent may
                remove this requirement for the transaction if title is taken in the name(s) of a natural person
                or a trust OR if this transaction is a financed acquisition by a bank loan or other similar form
                of institutional financing. Within 30 days of the closing date, the issuing agent shall
                electronically file the CTR in the Department of Treasury RSA E-Filing System portal at
                https://bsaefiling.fincen.treas.gov and submit a copy of the CTR along with confirmation of
                its filing to The Fund at FinCENconfirm aTheFund.com.




   Other Encumbrances:


         1.     Consent Final Judgment against Fane Lozman recorded in O.R. Book 33680, Page 1456,
                Public Records of Palm Beach County, Florida.




                          REAL PROPERTY TAX INFORMATION ATTACHED


  Proposed Insured:




  N/A




                                           STANDARD EXCEPTIONS


   Unless satisfactory evidence is presented to the agent eliminating the needfor standard exceptions, the
  following should be made a part of any commitment or policy.




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   1.    General or special taxes and assessments required to be paid in the year 2022 and subsequent
        years.



   2.    Rights or claims ofparties in possession not shown by the public records.

  3.     Encroachments, overlaps, boundary line disputes, and any other matters which would be
         disclosed by an accurate survey and inspection ofthe premises.

   4.    Easements or claims ofeasements not shown by the public records.

   5.   Any lien, or right to a lien, for services, labor, or material heretofore or hereafterfurnished,
        imposed by law and not shown by the public records.


  6.    Any owner policy issued pursuant hereto will contain under Schedule B thefollowing exception:
        Any adverse ownership claim by the State of Florida by right ofsovereignty to any portion ofthe
        lands insured hereunder, including submerged, filled and artificially exposed lands, and lands
        accreted to such lands.


   1.    Federal liens andjudgment liens, if any, filed with the Florida Department ofState pursuant to
         Sec. 713.901, etseq., F.S., and Sec. 55.201, etseq., F.S., respectively, which designate the Florida
         Department of State as the place for filing federal liens and judgment liens against personal
        property. For insuring purposes:


         (a) Pursuant to Sec. 713.901, et seq., F.S., personal property includes, but is not limited to,
             mortgages, leaseholds, mortgages on leaseholds, interests in cooperative associations,
             vendees' interests, and options when those interests are held by a partnership, corporation,
             trust or decedent's estate; and


         (b) Pursuant to Sec. 55.201, et seq., F.S., personal property includes, but is not limited to,
             leaseholds, interests in cooperative associations, vendees' interests, and options regardless of
             the type of entity holding such interests, including individuals. (Note: Mortgages have been
             specifically excluded from the personal property interests in which a judgment lien may be
             acquired under the provisions ofSec. 55.201, et seq., F.S.)

  8.    Any lien provided by County Ordinance or by Chapter 159, Florida Statutes, infavor of any city,
         town, village or port authority, for unpaid service chargesfor services by any water systems,
         sewer systems or gas systems serving the land described herein; and any lienfor wastefees in
        favor of any county or municipality.


   The report does not cover bankruptcies or other mattersfiled in the Federal District Courts of Florida.




  Inforeclosure proceedings, title should be examined between the effective date ofthis report and the
  recording ofthe lis pendens to assure that all necessary and proper parties arejoined. Consideration
  should be given to joining as defendants any persons in possession, other than the record owner, and
   any parties, other than those named herein, known to the plaintiffor the plaintiffs attorney and
   having or claiming an interest in the property.




   Rev. 12/10                                                                                    Page 5 of 7
Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 16 of
                                     143
                                    TITLE SEARCH REPORT

   Fund File Number.    1265094


  Prior to issuance of any policy of title insurance underwritten by Old Republic National Title
  Insurance Company, the agent must obtain and evaluate a title search for the period between the
  effective date of this Title Search Report and the recording date(s) of the instrument(s) on which the
  policy is based.


  If this product is not usedfor the purpose of issuing a policy, then the maximum liability for incorrect
   information is $1,000.


  Note: The Agent is responsiblefor obtaining underwriting approval on any commitment prepared
  from this product in the amount of $1,000,000.00 or more.




   Rev. 12/10                                                                                  Page 6 of 7
Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 17 of
                                     143
                                      TITLE SEARCH REPORT
                                                   Exhibit A

   Fund File Number:     1265094


   A strip of land approximately 300 feet in width from North to South, extending from the Westerly right-
   of-way line of State Road 703 to the water's edge of Lake Worth, lying between two East and West lines,
   the Northerly boundary line thereof being parallel to, and 3,465 feet (measured at right angles) North of
   the South boundary line of Sections 22 and 23 in Township 42 South, Range 43 East, as determined by
   producing the South boundary line of Section 21 in said Township and Range Eastward across the waters
   of Lake Worth and the land lying between Lake Worth and the Westerly right-of-way line of State Road
   703 to said Westerly right-of-way of State Road 703, and the Southerly boundary thereof being parallel
   to, and 12,900 feet (measured at right angles) South of the North line of Government Lot 1, Section 10,
   Township 42 South, Range 43 East, together with all riparian and littoral rights thereunto appertaining;
   together with all right, title, interest, claim and demand of the first party in the submerged land in Lake
   Worth lying between the North and South boundary lines of the above described tract when produced
   West to the channel of Lake Worth.




   Rev. 12/10                                                                                       Page 7 of 7
      Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 18 of
                                           143                                    Anne M. Gannon
           Anne M. Gannon                                                                                    Constitutional Tax Collector
           CONSTITUTIONAL TAX COLLECTOR                                                                     Serving Palm Beach County
             SerpiKj Piifm Bffirh Cpurjtj                                                                                 P.O. Box 3353
                                                                                                       West Palm Beach, FL 33402-33S3
                   Serving you.




                                            Search Results View Assessment Data




Account Information

               Property Control Number                       Property Type                         Last Update

              56-43-42-22-00-001-0200                         Real Property                  4/28/2022 4:23:38 AM

Mailing Address:                                                         Property Address:
LOZMAN FANE                                                              5101 N OCEAN DR
2913 AVENUE F                                                            RIVIERA BEACH FL 33404
RIVIERA BEACH , FL 33404-3723
Owner of Record                                                          Deed Number:
LOZMAN FANE                                                             0

                                                        Legal Description

22/23-42-43, N 300 FT OF S 3464.8 FT OF GOV LT 1 LYG W OF SR 703 & SUBMRG LANDS LYG BET N & S BOUNDARIES



Notice to Tax Payer


                                                   Tax Bill Information

To pay online, click the ADD TO CART button in the orange Shopping Cart (upper right side of screen).

 fl   = Indicates taxes are not payable online.

fl    = Indicates contact our office for additional information.
 Real Estate and Tangible Personal Property Taxes not paid by April 1 are delinquent. Delinquent Real Estate Taxes are not
 payable online.

 Interest and associated costs for delinquent taxes are determined by the date payment is received to the Tax Collector. A
 minimum charge of 3% is collected. Interest accrues up to 1.5% per month (18% annually).

 Please Note:
 Once you enter your bank routing and account number and submit payment, our system will verify your entry.


 If the account information results in an error message (see below) you will have additional opportunities to re-enter the
 correct routing and/or account number.




 -"Z -X-




                              S3



 If errors continue, please call our vendor Microbilt* using the phone number provided in the error message.

 *Microbilt can only assist with issues related to ACH/Bank account payments. For all other issues/inquiries, please contact
 the Palm Beach County Tax Collector at 561-355-2264.

Bill Type

Original Tax Bill = Original tax bill amount due in March.
        Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 19 of
                                                             143
  Certificate = Unpaid certificate {AMOUNT DUE) indicates a tax lien exists. Within two tax years this property may be sold at
  auction to collect unpaid taxes. Click on bill year for more information.

  Agency Certificate = Indicates a certificate was assigned to Palm Beach County.


  Frequently Asked Questions




 Tax Bills

Bili Year    Bill Type   Bill Number   Gross Tax   Penalty/Fees Interest DiscountAmount Due

2021 Original Tax Bill 101513772 $1,633.56             $0.00 $0.00 $0.00           $0.00

2020 Original Tax Bill 101514276         $91.23        $0.00 $0.00 $0.00           $0.00
2019 Original Tax Bill 101515686         $77.57        $0.00 $0.00 $0.00           $0.00

2018 Original Tax Bill 101516447         $75.65        $0.00 $0.00 $0.00           $0.00

2017 Original Tax Bill 101517740         $76.66        $0.00 $0.00 $0,00           $0.00
2016 Original Tax Bill 101518794       $637.85         $0,00 $0.00 $0.00           $0.00

2015 Original Tax Bill 101508745       $655.18         $0.00 $0.00 $0.00           $0.00

2014 Original Tax Bill 101519324       $675.20         $0.00 $0.00 $0.00           $0.00
          Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 20 of
                                               143                                   Anne M. Gannon
             Anne M. Gannon                                                                                             Constitutional Tax Collector
at . -.jttf CdNSWUTIONAL TAX COLLECTOR                                                                                 Serving Palm Beach County
               Serving Palm ftwch County                                                                                             P.O. Box 3353
                                                                                                                  West Palm Beach, FL 33402-3353
                   Serving.you.




 Collection Cart

                                                          items        Total




 Tax Account

                           Property Control Number                                            Property Type                       Status

                          56-43-42-22-00-001-0200                                             Real Property                        Active
                                                                                                                         A-

 Mailing Address:                                                                Property Address:
 LOZMAN FANE                                                                     5101 N OCEAN DR
 2913 AVENUE F                                                                   RIVIERA BEACH FL 33404
 RIVIERA BEACH , FL 33404-3723

 Geo CD:                                                                         Deed Number;
                                                                                 0

                                                               Legal Description

 22/23-42-43, N 300 FT OF S 3464.8 FT OF GOV LT 1 LYG W OF SR 703 & SUBMRG LANDS LYG BET N & S BOUNDARIES



 Tax & Assessment

 Ad Valorem                                                                     Gross Tax        Credit              Net Tax             Savings

 CITY OF RIVIERA BEACH                                                             $633.90       $0.00              $633.90                 $0.00

 COUNTY                                                                            $361.12       $0.00              $361.12                 $0.00

 SO FLA WATER MANAGEMENT DIST.                                                       $19.30      $0.00                $1.9.30               $0.00

 SCHOOL                                                                            $515.63       $0.00              $515.63                 $0.00

 CHILDRENS SERVICES COUNCIL                                                          $46.75      $0.00                $46.75                $0.00

 F.I.N.D.                                                                             $2.40      $0.00                 $2.40                $0.00

 PBC HEALTH CARE DISTRICT                                                            $54.46      $0.00                $54.46                $0.00

                                                          Sub Total            $1,633.56        $0,00             $1,633.56                $0.00

                                                          Total Tax            $1,633.56        $0.00             $1,633.56                $0.00



 Tax Installment

 Period      Bill Number               Due Date        Bill Year        Tax        Discount      Penalty/Fee       Interest          Total Due

 INST 1      101513772                3/31/2022         2021          $0.00^          $0.00               $0.00       $0.00               $0.00

                                                    Total Due:        $0.00           $0.00               $0.00      $0.00               $0.00




 Notice to Tax Payer

                                                  Tax Certificates
                                                                                                                   Properly Tax Hetp
Payments made between 5/31 - 6/7 of any year indicates the purchase of a Tax Certificate for
delinquent taxes. Tax Certificate purchase(s) ARE NOT a payment of taxes. "Paid By" information
displays the name of the Tax Certificate purchaser.

If a bill number begins with a year (i.e. 2020-001234), a Tax Certificate was sold for delinquent property taxes. The amount
due is shown above in the "Tax Installment" section under the Total Due column.

** This Icon       indicates delinquent taxes and the tax bill cannot be paid on-line at this time. It may also indicate a recent
TDA where additional fees are required. Contact our office at 561-355-2264 or email CiientAdvocate@pbctax.com for
       Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 21 of
additional details.
                                            143

                                                                                             Print



Tax Payment

  Bill Year   Bill Number   Receipt Number          Amount Paid    Last Paid   Paid By

   2021       101513772     B22. 515436               $1,633.56'   3/27/2022   Fane Lozman
Case 9:22-cv-80118-DMM
        COUNTY OF PALM BEACH:Document
                                  NOTICE OF AD70-1   Entered
                                                 VALOREM TAXES on
                                                               ANDFLSDNON-ADDocket   09/12/2022
                                                                               VALOREM ASSESSMENTS Page 22 of
          PROPERTY CONTROL NO. YEAR     BILL NO.
                                                      143
                                                     CMC    APPLIED EXEMPTION(S)       LEGAL DESCRIPTION
                                                                                                                                 22/23-42-43^ N 300 FTOF S 3464.8
          56-43-42-22-00-00 1-0200             2021        101513772               40
                                                                                                                                 FT OF GOV LT 1 LYG WOF SR 703
                                                                                                                                 S, SU8MRG LANDS LYG BET N & S
                                                                                                                                 BOUNDARIES
                     iii                                                                 in


             L       LOZMAN FANE                                                                                           Anne M. Gannon
                     2913 AVENUE F
             *       RIVIERA BEACH FL 33404-3723
                                                                                                                 "4        CONSTITUTIONAL TAX COLLECTOR
                                                                                                                               Serving Palm Beach County
                     lllElllllll'llTl'"'ll<-|ltlHrElllll-l"'-ll"ll-lll]"ll<li                                                            Serving you.
                                                                                                                               www.pbctax.com     0Q(o)gTAj;p&C

                                                                                                   2021 VAB REAL ESTATE PROPERTY TAX BILL
         REAP REVERSE SIDE BEFORE CALLING                                AD VALOREM TAXES                                       READ REVERSE SIDE BEFORE CALLING
           TAXING AUTHORITY                                        TELEPHONE             ASSESSED          EXEMPTION       TAXABLE    MILLAGE      TAX AMOUNT
           COUNTY                                                  561-355-3996                75,000                           75,000         4.7815             358.61
           COUNTY DEBT                                              561-355-3996               75,000                           75.000         0.0334               2.51
           CITY OF RIVIERA BEACH                                    561-845-4040               75,000                           75.000         8.4520             633.90
           CHILORENS SERVICES COUNCIL                              561-740-7000                75,000                           75,000         0.6233              46.75
           F.LN.D.                                                 561-627-3386                75,000                           75,000         0.0320               2.40
           PBC HEALTH CARE DISTRICT                                561-659-1270                75,000                           75,000         0.7261              54.46
           SCHOOL LOCAL                                            561-434-8837                75,000                           75,000         3.2480             243.60
           SCHOOL STATE                                             561-434-8837               75,000                          75,000          3.6270             272,03
           SFWMD EVERGLADES CONST PROJECT                           581-686-8800               75 000                          75,000          0.0365                 2.74
           SO FLA WATER MANAGEMENT DIST.                            561-686-6800               75,000                           75,000         0.1061                 7.96
           SO FLA WATER MGMT - OKEE BASIN                          561-686-8800                75,000                           75,000         0.1146                 8.60




                                                                                                                      TOTAL AD VALOREM                         1,633.56


         READ REVERSE SIDE BEFORE CALLING                      NON-AD VALOREM ASSESSMENTS                                         READ REVERSE SIDE BEFORE CALLING
           LEVYING AUTHORITY                                                    TELEPHONE                                        RATE                          AMOUNT




                                                                                                                       TOTAL NON- AD VALOREM                          o.oo
                                                                                          TOTAL AD VALOREM AND NON-AD VALOREM COMBINED                         1,633.56

                 DETACH HERE                            **SEE REVERSE SIDE FOR INSTRUCTIONS AND INFORMATION**                                           DETACH HERE


          COUNTY OF PALM BEACH: NOTICE OF AD VALOREM TAXES AND NON-AD VALOREM ASSESSMENTS

             PROPERTY CONTROL NO.             YEAR           BILL NO.

                                                                                                   PAYMENT IS DUE FOR ALL VAB FILINGS. NO EXCEPTIONS,
          56-43-42-22-00-001-0200            2021         101513772
          LOZMAN FANE
          2913 AVENUE F
          RIVIERA BEACH FL 33404-3723
                                                                                                                      Ed E 110 1513772000122 517b


         LEGAL DESCRIPTION                                           P.O. BOX 3353                                         MAKE PAYMENT TO:
         22/23-42-43. N 300 FTOF S 3464.8 FTOF                      WEST PALM BEACH, FL 33402-3353                        TAX COLLECTOR, PALM BEACH COUNTY
         GOV Lf 1 LVG W OF SR 703 A SUBMRG
         LANDS LYG BET N & S BOUNDARIES



                                                                    AMOUNT DUE WHEN RECEIVED BY

             NOV 30, 2021             DEC 31, 2021             JAN 31, 2022             FEB 28, 2022            MAR 31, 2022
                                                                                                                                         TAXES ARE DELINQUENT
                  $1,176,16              $1,188.41                $1,200.68               $1,212.92                $1,225.17
                                                                                                                                             APRIL 1, 2022
                     4%                     3%                      2%                        1%                NO DISCOUNT

                                                                                                                 2021 VAB REAL ESTATE PROPERTY TAX BILL
                  DETACH HERE                             **SEE REVERSE SIDE FOR INSTRUCTIONS AND INFORMATION**                                          DETACH HERE



          COUNTY OF PALM BEACH: NOTICE OF AD VALOREM TAXES AND NON-AD VALOREM ASSESSMENTS

             PROPERTY CONTROL NO.             YEAR           BILLNO.


          56-43-42-22-00-001-0200             2021        101513772                                PAYMENT IS DUE FOR ALL VAB FILINGS. NO EXCEPTIONS.


          LOZMAN FANE
          2913 AVENUE F
          RIVIERA BEACH FL 33404-3723                                                                                 2DEllD1513772DPDlL33Sbtl


         LEGAL DESCRIPTION                                                                                                 MAKE PAYMENT TO:
                                                                     P.O. BOX 3353
         22/23-42-43, N 300 FT OF S 3464,8 FT OF                                                                          TAX COLLECTOR, PALM BEACH COUNTY
         GOV LT 1 LYG W OF SR 703 & SUBMRG                          WEST PALM BEACH, FL 33402-3353
         LANDS LYG BET N & S BOUNDARIES



                                                                    AMOUNT DUE WHEN RECEIVED BY

             NOV 30, 2021             DEC 31, 2021             JAN 31, 2022             FEB 28, 2022            MAR 31, 2022
                                                                                                                                         TAXES ARE DELINQUENT
                 $1 ,568.22              $1,584.55               $1,600.90               $1,617.22                $1,633.56
                                                                                                                                             APRIL 1,2022
                     4%                     3%                      2%                        1%                NO DISCOUNT

         VA8 RE BILL 10/07/2021                                                                                  2021 VAB REAL ESTATE PROPERTY TAX BILL
Case 9:22-cv-80118-DMM
      (KEEP THIS PORTION FOR YOUR Document
                                  RECORDS) 70-1 Entered on FLSD Docket
                                                                  Anne 09/12/2022
                                                                         M. GannonPage 23 of
                                                143           A'                                                      CONSTITUTIONAL TAX COLLECTOR
                                                                                                                          Serving Palm Beach County
      VAB PETITIONERS - IMPORTANT INSTRUCTIONS
                                                                                                                                  Serving you .
                                                                                                                          www. pbctax.com j 0J|J Q(o}@TAXPBC

       2021 VALUE ADJUSTMENT BOARD REAL ESTATE PROPERTY TAX BILL
      This bill includes AD VALOREM TAXES and NON-AD VALOREM ASSESSMENTS for the
      current tax year. Discounts are shown on the front of this bill.                                                       QUESTIONS

      VAB REAL ESTATE PROPERTY TAX PAYMENT                                                                       Constitutional Tax Collector
      •    VAB payment must be made in full and in U.S. funds.
                                                                                                                 Prepares and mails TAX BILLS. For
      •    Payment must be received in our office by the due date printed on the front of this bill.
                                                                                                                 answers to most questions, visit
           Payment is subject to verification and receipt of funds. A fee is applied for dishonored funds.
           For the latest requirements when visiting our office in-person, visit www.pbctax.com.                 www.pbctax.com, email
                                                                                                                 ClientAdvocate@pbctax.com or
      PAYMENT OPTIONS                                                                                            call 561-355-2264.
      REGARDLESS OF THE OUTCOME OFYOUR VAB HEARING, ALL TAXES REQUIRED BY YOUR VAB PAYM ENT
      OPTION MUST BE PAID IN FULL BY MARCH 31T0 AVOID PENALTIES (PER FLORIDA STATUTE 184.014).                   Note: If this property was sold, please
      •    ECHECK (Online Only) 24/7 at www.pbctax.com. eCbeck is FREE (email transaction                        notify us at mvw.ptictax.com/propertysold
           notice serves as confirmation).                                                                       and complete a Property Tax Contact Form.
      •    CREDIT/DEBIT CARD A 2.4% Convenience Fee Will Apply ($2,00 minimum). Convenience
           fees are collected by the credit/debit card vendor ancf not retained by our office (email
           transaction notice serves as online receipt).
                                                                                                                 Property Appraiser
      •    BANK ONUNE BILL PAY Use your bank's bill pay service. Enterthe 17-digit Property Control Number
                                                                                                                 Prepares the AD VALOREM TAX ROLL.
           (no dashes) as account number. Mail delivery and bank processing times vary. Please allow
           ample time (confirmation from your bill pay service serves as receipt).                               For questions about assessed value,
      •    DROP OFF BOX At any service center from 8:15 AM to 5:00 PM, Monday - Friday (canceled                 exemptions, taxable value, assessed
           check serves as receipt).                                                                             owner's name, address and legal
      •    MAIL Detach the stub below and return with payment DO NOT TAPE, FOLD, STAPLE,                         description, call 561-355-2866,
           PAPER CLIP OR WRITE ON PAYMENT STUB, Write your 17-digit Property Control Number
           on your payment. Use the enclosed return envelope with the Tax Collector address
           showing in the return envelope window (canceled check serves as receipt).                             Taxing Authorities
      •    WIRETRANSFER Visit our website at www.pbctax.com/wires for instructions.
                                                                                                                 Set the AD VALOREM MILLAGE RATES.
      DELINQUENT TAX INFORMATION                                                                                 See telephone numbers listed on front

      FLORIDA STATUTE 197.402 and 197.432: Tar Certificates will be sold on all unpaid property taxes 60 days    of bill for questions about assessment

      after the date of delinquency.                                                                             amounts and services provided.

      •    AD VALOREM TAXES and NON-AD VALOREM ASSESSMENTS are delinquent APRIL 1.
      •    The minimum charge of 3% will be collected. Interest accrues up to 15% per month (18% annually).      Levying Authorities
      •    Interest and associated costs for delinquent taxes are determined by the date payment
                                                                                                                 Determine the NON-AD VALOREM
           is received. Postmark date is not proof of payment.
                                                                                                                 ASSESSMENTS. See telephone
      •    Payment AFTER THE DATE OF DELINQUENCY must be paid by certified funds or the payment will
           be returned. Certified funds include funds drawn on a U. S. bank in cash, bank draft wire transfer,   numbers listed on front of bill for
           money order or cashier's check.                                                                       questions about assessment amounts
                                                                                                                 and services provided.


                                                                             (DETACH HERE)

                    DO NOT TAPE, FOLD, STAPLE, PAPER CLIP OR WRITE ON THIS PAYMENT STUB
                                                  TO AVOID PAYMENT PROCESSING DELAYS


                                                                                      INCLUDE THIS STUB WITH PAYMENT


                                                                                      Make payment to:
                                                                                      Tax Collector, Palm Beach County

                                                                                      Please include the 17-digit Property Control Number on your
                                                                                      payment. Place this stub and your payment in the enclosed
                                                                                      return envelope. The Constitutional Tax Collector's address
                                                                                      must show in the return envelope window.




                                                                             (DETACH HERE)

                    DO NOT TAPE, FOLD, STAPLE, PAPER CLIP OR WRITE ON THIS PAYMENT STUB
                                                  TO AVOID PAYMENT PROCESSING DELAYS


                                                                                      INCLUDE THIS STUB WITH PAYMENT


                                                                                      Make payment to:
                                                                                      Tax Collector, Palm Beach County

                                                                                      Please include the 17-digit Property Control Number on your
                                                                                      payment. Place this stub and your payment in the enclosed
                                                                                      return envelope. The Constitutional Tax Collector's address
                                                                                      must show in the return envelope window.




      VAB RE BILL 10/07/2021
                              Case 9:22-cv-80118-DMM Document  70-1
                                                        Best Copy       Entered on FLSD Docket 09/12/2022 Page 24 of
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             to me welt known and known to me to be Ute individual               g described in and who executed the

            foregoing deed, and tb«y                   acknowledged then and there before tr.e that        they

             executed *aid deed.

                                                                            Baud Hart
                   Bad 1 Jarfef Certify, rim the
            known to me to be the wife of the mid                   a   M.     Hart

             on a separate and private examination, taken and made to the abooe named State and County
             by and before me, separately and apart from her mid husband, did this day acknowledge before
             me, an officer authorized to lake acknowledgments of deeds, that she executed the foregoing deed
            freely and voluntarily and without any compulsion, constraint, apprehension or fear of or from
            her said husband.


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          !        I Barbara Hoffatot Jenkin:, known                                                  to ine to be the Individual described in :
                     and who executed the forefroin^ deed end abe acknowledged to r.e that
                   i ahe executed the fleite Tor the purposes therein expressed. 7' e said
                     Barbara Hoffetot Jenkins, known to tie to be the wife of the said Alan                                                                                                                        ,
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                           Il(*f W€!C*fl                     Edward t, Jan' In* «M M* wlfa, Evelyn G. JTankin*,


                 of the County of                                Fauquier                                                     and States of Tlrglnla,                         t
                 tw/flas of the first nart and L** swcufltlaa Corporation, who** pwraonent
               poetofflse aC4raa/^.*'P. 0, Bow £549, Waat Palm Bench, Florida,
                 a corporation existing under the lavit of the State of                                                                                        .              *


                 hurlitif tin f/rinfifntl jdaem of business in the County af Point jitucn                                                                                arid
                 Slate of       Florida                  party of the second part,
                          WltltCft»eth~ that the said part 1" of the first part, far and in consideration
                 of the sum of one dollar end other valuable eonsideratl cna,                                                                                      *****>
                 („        them                     f„ hand paid, the receipt whereof is hereby aeknouiedged , ha                                                        we
                 granted, bargained, sold, aliened, remised, released, enfeoffed, conveyed and run-
                firmed Jad hrj there presents do         grant, bargain, tell, alien, remise, release,
                enfeoff, roriivy and 'mifirm unto the said party of the second part and its xncces-
                tors and assign* forever, alt that certain parcel uf land lying and heing in the
                Comity of Fein . tech                  and State of Florida, mare particularly
                described as foflows: The Sow th Tv.o Hundred (233) feet of the following
              described                     lends;

                            All that, portion jC Govern:-, or, t lot One {1j of SeCti m fifteen {15;
              and if   verijsent Lot 0   11) of SoCU u twenty- two (22), end of Govrn-
              nent Lot One (1) of seetl t. twenty-three {22) or Township forty-two
              (42) South, Ssnre f rf.-- three (43 1 rnst (which lias between lines that
              are respectively 5,000 and 13,000         South or and ;%rnllel with th<
              n">rth line of Govern:. «.:•. t Lot 1, Section 13, Towns). 1; 42 South, Range                                                                                       _
              43 East;     -ether -it'r. fill ' ripa*" ian rights thereunto te'onglng or in
              anywise an; ertp inim-;                                               Also ell                     f        the right,          title nr. i lntereat of
              the grant , rs in --.nd ft "il thu"                                                              po tion                  'f submerged land In Lake t-rth
              wr.ich liee i otween                                       the L'tV- mi: South boundary llr.es of the eteye de
              scribed tract »h&:i                                        [ r J .cm: '.Vest to the channel of «•>« Sorth,

                            Subject                  t-.         taxes subsc uiont                               to           t'r.t    y-'-.r 1930.




                          J                                 with all the I cu eni etf t x , hereditaments and appurtenances, with
               every privilege, right, title, interest and estate, dower and right ofd-wer, rcrerti'w ,
               rchiniriif- ' I't-S                               -T-it thereto belonging or in <myni-r appertaining;

                       To I lui « ami to Holtl the same in fee simple forever.
                        dud the said parties of the. first part da                                                                       covenant with the said parti/ of
               the strand part that they are lawfully seized af the said premises, /hat they are
              free of alt incumhraaee, and that thOy have      good right and lawful nut hurt tt,
              to sell th •• xu.nie: and that said |.urf les                                                           af the. first part doth herein, fully warrant
              the title to said land, and will defend the same against the lawful claims of all
              persons                whomsoever.


                       Ill 1ft illltrrtii 1ft JuTt'of, the said pari 1«® uf the first pari ha fo hereunto
              sft       their                       hnud s and scat 3f Ar day and year at"we written.

              i. f t ",1 .lr)    > * «- T .1.7   j, n j)?    T   * f w ra       .8 T W-     . .1 t9i.      .-.-r- j— rm —
                                 .   —- -    .     - - —    .......         -             *>•«   a   em   —^   i**.   "   v




                       oJ(j[                                         ^                    V                                                      7i
                                                                                                                                      • £'fZ-dycU . S*/ . AJ       «*»




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                  U ,             r Yi                m
               Slat« Of IflUvMi, Tlrgtnls,
                                                                               i-



               Cously mf                  Fauquier.

                         I HJEHfcflir iXitlFY, That on this                         21»t.             day of       March,
               A. It. ]if$\ , before me personally appeared                           Edward T .        Jen* i no and        Erelyn O.
                     Jenkins,               ht«       nife,

               tome known to be the person 5 described in                                   and who executed the foregoing
               conveyance to                            La* Securities Corporation, e                   Florida         corporation,*

                                                                                                   and- severally acknowledged
               the execution thereof to be                       their       free act and deed for the uses and purport*
               therein mentioned; and the raid                           ETelyn (J.     Jfcnkitis,
                                                                                                                 the wife of the said
                     .           .    .           .       Edward !• .    Jenkins                                        , on a sepa rate
               and private examination                        taken and made by and before me, and                      separately        ond
               apart front her mid husband, did acknowledge that she made herself tt party to the
               mid heed of {'turrcyance for the purpose of renouncing, relinquishing and con-
               veiling all her right, title and interest, whether of doner or of separate property,
               statutory ur ofuituhlc, in and to the lands therein described, and that the e-rccu i i-<t
               said deed freely ami vol it n tartly, and without any constraint , fear, apprehension
               or ct tin pulsion of or from her mill husband,
                    WrRfcSjf my signature and official seal at                               v;ar: entsr. ,                Virginia ,
               ill the 'futility of f'fl'i'i-jier                                       ond State of WtL*UtM^/the day and                       -
               year last itforesaid..


                                                                                                  -/ff-
                                                                                                   Mot'i ry I ,bl to.
                  My cofiinlaal-jf, f-jflrar-:
                             June         21 ,   J354




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si                     i                                                  dA-j o/              January - -                           . A. O. 19 A*           ,
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t                      j HdlifSffl lux sscramss ooeforaticn                                                                            , a corporation
m                  )
m                  ,        cxiiimg under the hart of the State of Florida                                           . having ih principal place of

0                  ;        iimin?j» in Inr County of        Palm Boabh                              oiid State of    Florida

                            party of the first part, and                                                                                                                 !
                                                                 DONALD A. LACDOflALD and                     GL'AH 3. LACDOT'AID ,                  his
                   :        wire, whose address la 512 Olecstis St., '.foat Pair. Saach

I                  I        of ih' County of Palm Beech         and State of Florida

                   I part leo of the second part, %S$hWtX£th, That the tend party of the first part, for and in n>i-
iff
3              ii
Li                          sidrration of the turn of       Ten    Dollars!      and       other       valuable       con side rati on sP*Wor».
                                                                                                                                                                     ;
'&                                                                                                                                                                   i
               jj           to it in hand paid. Ike receipt whereof is hereby acknowledged, has granted, bargained, sold.
a
fe;            j            aliened remised, released, conveyed and confirmed, and by these presents doth grant, bargain, sell.                                                  i
L!                                                                                                                                                               I
               i
                                                                                                                                                                     I           i
1                           alien, remise, release, convey and confirm unln ftst said pur&H 5                  o! the second part, and               their       !
Vi
sJ
                            heirs an ' assigns forever, all that certain parcel of land lying and bring in the County of                                         "
i
I              ii
1              ,1
                              rain Beach                            one] State of                  Plor Ida                     . more particularly
s              i"


                I described as follotPs The South 200 feet of tho fol laving described lands;
1              ,! All that portior or Jovarrraant Lot 1 of Section 15 and or lovernment
g              ij Lot 1 of Section 22       aai of O-overhmanc, Lot 1 of Section 23 of Township
1              ij 42 South, itange 43 East (which       lies between llna3 thot are respective
i
i               ! ly e,000 and 13,000 feet South of and parallel with the North line of
S              , Oovemneut Lot 1, Section 10, Township 42 South, Hangs 43 Seat; to-
               i get hex with all riparian .rights thareunto belonging or in anywise ej>-                                                                        i
               ! perteining; also all of lie right, title and interest of the grantors
                           in and to all that               portion of submerged land                         in Lake     Worth which                 lies
i
I                          between the North and South boundary lines of the above described
s                          tract when produced '/Jest to the char.nfl of Lake '(orth. Subject, how
I                          ever, to the rights of the public in and to the hiqhvfay crossing said
                           strip from north to south near the waters of Lake .'orth , designated
63                         as State Highway No. 703.
(3
               1
                                         iOifft all the tenements, hereditaments and appurferanres, milh esrery privilege, right,
i
                           title , interest ur.d estate, reversion, remainder and easement thereto belonging or in anywise apper-

           i               lairing:                  ilild Tl)          the tame in fee simple forever.
i
i
s          "j                                           vf the first I#r1 doth <vvrna/d with the taid port las of thf frond pari
i              j                                 eifeed of the said premises: thai they are free of ail incumbrances, and Ihut it
           i|                                               authority >o tell the mime, and the mid party of the fin! pari does here
a              I                               t^iWrio said land, and will defend the tame against the lawful rltt-mt of all
s
                                                   %
           |x r S S -a.4 &*!t=i ao                               1(1 ttfitSfiS                 t$t, lf<r 'aid party of the first part hut routed
                                                                    these presents to be signed in its name by Us President, and its
                           MA»JSJ£v/                                corporate, seal to fee affixed, attested by its          SectV-Treasurer
%                                                                   the day and year above written.
i          (r\
1                                                                                      UKt sscoRmss jpo RPORATTOK
S
3                                                                                               ~7 • l" . _W4Laj>-
                                   /        Sect^ Trensurer.               (J          By                                             T*T

                                                                                                                                          President.
1li:                                                                                   I

           I signed, Scaled and Delivered in Ottr Pretence,-                                                                                                                     :



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              fi&JL lArti. BsLS^                                                           >
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                                             Ji fa:,tWg �, 'I'haJon ttd, -- -6t.h--­                                                                                                             , A. I>. 19 LS

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                                                            Job!l H. Coore. Jr.,                                                                 • ru�i::lfrH.ly Pr;r#i1.ad and Se ct' y�'::'re 'i B •
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                                     and 6,.,,,rol/!J ucl:n?wlwued lh.: ae<::Idi'-'n there.of to k lhw frf!e act and ;u,,d a� ,111:h o,'flr,r,
                                     li1ueur1JQ duly a<Jlh'>ri.zed; and tho.I the o{fi:::ial ;;:,"11 l1( laid r.Qrporaiiou •� dul11 afllz,d 1/l�t,lo. and
                               1     thf' t11id <X,Tlt"�,mcc i1 the or.I QII� deed of� t'�r;;oration.

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                                     143

                        otto   m«*v?2


         8
                                                    WARRANTY D2ZG


                                   THI3 INDENTDRE,     Bade this      >     day of December,
                                                                                                 1
                    1947, between ALAN KELSON JEHEIBS end BARBARA HOFFSTOT Zi!i;yj%St

                    ilia wife,- both of Fauquier County, Virginia,           perties   of the

                    first part# and DONALD A, KACDONAbD sod Oi^h 3, LACDGilAU>, his
                                                                                                 I
                    wife,      parties   of the second pert,

                                                                                                 i
                                   HJTHBS3BTH,      that the said parties   of the first part,

                    for and in consideration of the sim of fen Dollars crd other

                    Valuable considerations to thea in hand paid by the said parties

                    Of the second part, the receipt thereof ia hereby ecksotledged,

                    have granted, bargained and sold to the said parties of the                  ;
                                                                                                 !

                    second part, their heirs and asBigas forever, the following                  1
                    described land, situate,           lying sad being in the County of talis


 V
                    Beach, State of Florida,           and nore particularly described as
 J
                    follows;

                               A strip of lend approximately £00 feet in width froa
                               north tn south, extending from the water's edge of the
                               Atlantic Ocean to the water's edge of lake North, lying
                               between two east and west lines,     the northerly boundary
                               lias thereof being parallel to, and 3,465 rest {measured
                               at right angles) north of ths south boundary line of
                               Sections 22 and 23 in Township 42 South, Range 43 Seat,
                               as determined by producing the south boundary line of
                               Section Si in said Township eod Range eastward across
                               the waters of Lake Worth and the land lying between
                               Lake Worth end the Atlantic Ocean to the Atlantic Ocean,
                               wnd the southerly boundary thereof being parallel to,
                               and IS, BOO feet (measured at right angles) south of
     .   Jt-.'.V
                               the north line of Government lot 1, Section 10, Township
                               42 South, Range 43 East, together with all riparian end
                               littoral rights thereunto appertaining j together with
                               all right, title and interest of the parties of the
                               first part in the aubswrged leads in Lake ubrth lying
                               between the north and south board ary lines of the
V                              above described tract when produced west to the channel
                               of take Worth.

                               tisoi
                               A Strip of land 200 feet In width from north to south
                               extending from the water's adgo of     the Atlantic Ocean
                               to the water's edge of Lake S-erth, lying between two
                               Hat -and west lines,     the southerly boundary line there
                               of being 2,866 feet north of the south boundary line of
                               Section* 22 and 23 In Township 42 South, Range 43 Bast,
                               as determined by producing the south boundary line of
                               Section £i~ in said township and range eastward across
                               the waters of Lake Worth and the land lying between




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                       lake Worth tad the Atlantic Ocean to the Atlantic
                       Ocean, end the northbounderylinethereof being 5,065
                        feet north of the south boundary line of sections 22
                        s'd 23 as above described, the north and aotith boundary
                      i li'-.*!-? of eald 200-foot atrip panning parallel with and
                        being measured at right angles to the a oath boundary
                       line of aalA Sections 22 end 23 as above described, the
                       strip hereby conveyed being that pert or fractional
                       section £3 and that part,            if any,      of. fractional section
                       22 In said     township and range,          lying between the waters
                       of the Atlantic Ocean on the east, the waters of Ie&e
                       Berth on the west, and the two boundary lines shove
                       described on the north and oooth; together with all
                       riparian and littoral rights thereunto appertaining;
                       together with all right,            title and     interest    of the
h?                     parties of the first part in the submerged lands                   in
                       Lgke Berth lying between the north and south boundary
                       lines of the above described tract when produced west
                       to the channel of lake Worth,

                       Subject, however,          to the rights of the public in and to
                       the highway crossing said strips from north to south
                       near the waters of lake Worth,             dceisaeted so State
                       Highway Tin, 703,

                              And   tie   acid    parties of the first        part do   hereby

                 fully warrant the title to said land and will defend the seas

                 against the lawful claiss of all persons whomsoever,

                              IN WITHE33 WH2SB0P,          the said parties of       the first

                 part have hereunto set their hands and seals the day and year

                 first above written.




                 Signed,   sealed and .delivered                             Co                  .(SEAL
                 in the presence of:                        tiin r. el son lenlrfn


                            a mP* iffr                _
                                                      *>

                                                                                                 CSBAl




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                                STATE OP VIRGINIA      )
                                                       )
                                cowry cp fatjqoieh )                                                                        ,




                                    »      I KSREBT CHRT1FT, that on this       f     day of December,                  .   V

                                1947, before me personally appeared A LAI' UZLSOH JENKINS and
                                                                                                                                ;» -
                                BARBARA BOFFSTOT JENKINS, his wife, to me known aDd knead to me
                                                                                                                                       A M
                                to be the persona described In and She executed the foregoing

                                warranty deed to Donald A- KecDonsld nod Grab B, laeDonald,          his
                                                                                                                            ^ f'J
                        «       iilie; sad they acknowledged the execution thereof ..to be their

                        I free act and deed for the uses and purposes therein mentioned;
                        I and the a a 14 BARBARA HGFFSTOT JEBRIH3, the wife of the said
                            Alan Redoutr Jenkins, on a separate and private examination taken

                            and made by and before me,        and separately and apart from hor
                                                                                                               1>
                            said huatand, did acknowledge that she cade herself a party of

                            the seld warranty deed for the purpose of renouncing, relinquish- [

                            log and conveying ell her right,         title and Interest, whether of

                            dower or of separate property,        statutory or equitable,     In and

                            to the land therein described, end that ehe executed aald deed                 j
                            freely and voluntarily and without any constraint, fear, appre-                i
                                                                                                                                    *    .

                            harm ion or compulsion of or from bar ssld has bend.

                                          WITNESS my signature and official #eal at tfarrcnton,

                            la the County or Fauquier,       and State sf Virginia,     the day and
                                                                                                                                         •%
                                                                                                                1


                            year last aforesaid.

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~a-                                                                    .     WARRANTY        peed                                   v.
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At



:•
'k                                            .. THIS INDENTURE, made th» 9th day of October, A. D, 1958, between
"•7
M                                     DONALD A, MacDONALD and OMAH B. MacDONALD, his wife, of the ";
if
&
                                      County of Palm Beach and State of Florida, parties of the first part; And

!7                                    DONALD A. MacDONALD and OMAH B. MacDONALD, his wife, as tenants

A                                     in common and not as joint tenants with right of survivorship, whose post


%                                     office 'address is;      Post Office Box 487, Riviera Beach, County of Palm Beach

                                      and State of Florida, parties of the second part;

?:                                      -       WITNESSETH;                That the said parties of the first part, for and in
Ti*



I                                     consideration of the sum of TEN ($10. DO) DOLLARS and other good and
s
s?                                    valuable considerations to them in hand paid by the said parties of the second
 ?:

I                           ...       part,   the rec eipt where oi is hereby acknowledged,         have granted,       bargained


4                                     and sold to the said parties of the second part,           their heirs and assigns forever
5
,7.                                   the following described tand situate,          lying and being in the County of Palm


                                      Beach'and S t ate of Florida, to-wit;
"5em


isri                                            A strip of land approximately 200 ieet in width from north tD
•i         <fx Illlliktli'lU!
                                                south,   extending from the westerly right-of-way line of State •
77         •Gi-     ®
                    dJ
                                  1             Road 703 to the water's edge of Lake Worth,           lying between two
            jl£     <=>                         east and west li nes       the northerly boundary line thereof being
                     III
                                                parallel to,   and 3; 465 feet (measured at right angles) north of
           _|C0£
                                               the south boundary line of Sections 22 and 23 in Township 42

           iwm                                 South,    Range 43    East,   as determined by producing the south
                                               boundary line of Section 21 in said Township and Range eastward
                                               across the waters       of Lake   Worth and the   land lying between

           <3 5 (H-                            Lake Worth and the westerly right-of-way line of State Road 703                      .           /

                                               to said westerly right-of-way line of State Road 703,          and the
           Walllliiit'iHbE:
                                               southerly boundary thereof being parallel to,          and 12, 800 feet ,

            UDtnoa                             (measured at right angles) south of the north line of Government
                                               Lot 1,    Section 10, 'Township 4'2 South,     Range 43 East,    together
           ::dv33 vii'Jd
                                               with all riparian and littoral rights thereunto appertaining;
                                               together with all right,       title and interest of the parties of the
                                               first part in the submerged lands in Lake Worth lying between
i-i                               '
                                               the north and south boundary lines of the above described tract
                                               when produced west to the channel of Lake Worth.

 •J           j
f.                                            ' ALS O:
v

¥                                              A"'strip of land 200 feet in width from'north to south extending from
                                               the WesteTLy right-of-way Line of State Road 703 tothe water's
                                              __ edge of Lake Worth,       Lying between two east and west lines,        the
 7                                             southerly boundary line thereof being 2, 865 feet. north of the south,
                                               boundary, line of Sections       22 and 23 in Township 42 South,     Range
v-                                             43-EaHt,    a, determined by producing the south boundary line of
-b.
                                              'Section 21 in- said township and range eas tward across the waters
A
                                               of Lake Worth and the. Land lying between Lake Worth and the




  f                         .




4.
 if
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              Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 45 of
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                                                                   IS 250 ntt562

                                        we     sterly right-of-way Hue of State Road 703 to said westerly                                       '
                                        right-of-way Itno of State Road 703, add the north boundary tine
                                        thereof being 3, 065 feet north of the south boundary line of
                                        Sections 22 and 23 as above described, the north and south
                                        boundary lines of said 200-foot strip running parallel with and
                                        being measured at right angles to the south boundary ine of    .
                                        aaid 5ectidns_22 and 23 as above described, the strip hereby                                                .
                                        conveyed being that part of fractional Section 23' and that part,
                                        if any,           of fractional Section 22. in said township and' range,. Lying
                               i        between the westerly right-of-way line of State Road 703 on the
                                        east, the waters of-Lake Worth on the. west,                                  and the. two boundary
                                       lines above^described on tie north and south; together with all
                                        riparian .and littoral rights • thereunto appertaining; together
                                       with ail right,           title and interest of the parties of the first part
                                       in the submerged lands in Lake Worth lying between the north
                                       and south boundary lines of the above described tract when pro
                                       duced weat'to the channel of Lake -,Vorth.


                                       SUBJECT to reservations,                        restrictions and easements of record.
                                       SUBJECT to taxes levied subsequent to the year 1957.


                         And the said parties of the first part do hereby fully warrant the titLe to said


                         land and will defend the same against the lawful claims of aLL person whom-


                         a oe veir4




                                       IN WITNESS WHEREOF,                        the said parties of the first part have hereunto


                         set their hands and seals the day and year first above wr-itten.

                         Signed,               sealed and delivered
                          '   in tlit5? presence of; "
                                        . f?
                     .                          ,    S



                                                                                                                                               ,_(seal)
                                                                                        OMAH B. MacDONALD                                                    '


                         STATE OF FLORIDA                                 )
                                                                                  SS.
                         COUNTY OF PALM BEACH                             >



                                   -   I HERESY-CERTIFY that- on- this day before me,                                      an, officer duly


                         qualified to take acknowledgments,                             personally appeared DONALD A.


                         MacEQNAED and OMAH B, .MacDONALiQ* {lis wife, to me known to be. the                                                            •

                         individuals described in and who executed the fore.going instrument*                                                  and th^
                                                                                                                                                                   ' 'i
                         acknowledged before^me that they executed the same.


                                       WITNESS my hand and official teal in the County and State last afore-*
                                                                                                                                                                    .'e
                                                                                                                                                                      r
                                          9th da? °f October , A. D. 1958.                                  .                                                          t
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                   :'Wi00'    commission expiry:-                                  -
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                                                                                                    NOTARY PUBLIC
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                                                                                                                Recorded In Official Record 3oqK
                                                                                                                 of Palm Bcoclv'County, Florida.
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                                                                                        Z-                          J. ALEX AllNETTE
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                                                                                                                  CLERK OF CIRCUIT COURT
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               Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022
                                                                                    1 Page 46 of
                                                    143
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                                            QUlt-ClAtM DEED
                                                                                                                     RAM CO                                                  y.
                                                                                                               ORB 1693, PG 495
                                                                                                                                        FORM 8
                                                                                                                                                                                                                                   %
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                              ;
                                  i
                                                 TlltS 0Uli*£lflifTl SfCd, tixmtUi! this 3outlay uj                                                              December -'                         : A IX I'YGS                     by
                                       ftnah I!. MacDonald,                      Che unremarried widow or Donald A. MacDonald, .                                                                 .
                       .J. first pnrty. io Donald A. MacDonald, Jr. and Onah M.' Kiser, all; of the other heirs and
                      J beneficiaries in addition to first party of the'Estate of Donald A. MacDonald,
                          i            deceased, as tenants in common,
                                        U'#ujyr> past office atlflrpss is
                                              428 Lighthouse Drive, North Palm Beach,                                                         Florida
m                                          yvC'Qud patty:
                                                              (\ibcrrtrt ii^-d hrirnt |h<-       lenni.                  and 'Vl»nt! pjrivv> tfuli mflutfr Mrttuhtr i/irl plural, h*irt, |r><.»j
                                                                   rvcntalHtT.    mil ^>%icns >(. ilMntdujfi, and thf             »nfi i- v.i i f >            til                vliF-rc^rt    'be (mfrii                                       !
                      i!                                      i" Acinu Is c: :riji..:cs.;

                      1;
                                                                    77mi tlii1 raid first pfirty. fitr ntitl iri (Yirindi'raUoii nf lite stini of $ '11,512-85
                                           in /land paid hv J fie Stiiit 'second parfy. I fin icrri/il leh errol is hereby arbnoielediied , dors hereby remise ri-
                      i,                   lease and ffliil-r/aim [info f/n* said second parfy fr/rerei . nil the riijhl. title, inferpsf. rlntnt and demand trjtirh
                       -                   the said first party has in and fo the fpilituttng described lot, piece ar parcel a f land* situate, /yijtif and being
                      c                    in thn Connfy o! Palm Beach                     '       Sin/c of Florida                   . to-imt.
                      II
                                                          A strip of land approximately 300, feet in width from north to                                                                                         ,
                                                          south, extending from the westerly right-of-way line of State
                                                          Road 703 to the water's edge of Lake Worth,, lying between two*

                      r
                                                 yar      east and west lines,                                die northerly boundary line thereof being
                                                 g*®cP parallel to, and 3,465 feet (mea-sured at right angles] north of
                                                                                                                                                                                                                              losT'1
                    ' ! - i £ ? ° -the south boundary line of Sections 22 and 23 in. Township. 42
                      i j j j Ejfi                        South, Range 43 East, as determined by producing the south
                                                                                                                                                                                                                              'gl! S i!
                                           j * fgf        boundar)' line. of Section 21 in said Township and Range . eastward
                                                          across the waters <5f Lake Worth and tha land lying between                                                                                                             U. CV/sViJA w«. / <
                                                lCrj      Lake Worth and the westerly .right-of-way line of State Road 703                                                                                                    r °S«r
                      r'iVtS-y                            t0 sai^ westerly right-of-way line of State Road 703, and the
                                                                                                                                                                                                                                 uiiiT?
                      ' - '•% Si                                                                                                                                                                                                 b2 8
                                                          southerly boundary thereof being parallel 'to, and 12,yoo feet
                                      - I ™ ; ;           (measured at right angles) south_of_the north line of Government                                                                                                                   *
                      1 ° |S > I                          Lot 1, Section 10, Township 42 South, Range. 43 East, together                                                                                                         W3i!:iinii]iS{£
                      '— '                      so        Kith all riparian and littoral rights thereunto. appertaining;                                                                                                      / AifhlOO'V
                                                jo        together  with all right, title, interest, claim and demand of
                      m
                     ' Vir                        1       tlie first party in the submerged lands in Lake Worth lying be                                                                                                     .havia >mvj .
                                       :                  tween the north and south boundary lines of the above described
                              - i c &-£'                              wher» produced west ho the channel of Lake Worth-.
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                                        wiis-or ol I Ji»v s«ni firhl pnrlv. prf/ior in lair or hcfiwf.v. fo it*? only- proput            In-nf/ii orui          n/ ijii* snid
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                                        lir.vf iJuH'f1 u'ritfi'ii.                                        "
                                        Stnrn'f/, frffifi'ff and rfi'/ircTt'f/ in priwnro of:


                                              ... ' i-         'i. C.            .1 A./, i.-.'        .. . .                                                                                                                 m
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                                               Oman B. MacDonald
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                                                                                                                                                                                                                                   ,,J                 '
                                        December
                                                                        • •" "j 68                                                                    jSrO^
                              This             instrument prepared by;
                                                                                                                                                      HOUSV Pd'hlt STMCdOtPRIBA i: |iu>5r                                    it
                              liar land N. Jarvis                                                                                                     «V COHMIS^im        iXi'RIS NOV.         |S.   i-."P
    ~e^f                                       Prosperity Fame Road
                              Lake Park, Florida,
                                                                                                       'ilL-iiSDS fiK <195                                                                                   <?v                  <j;

                                                                                                                                           'iM"'
Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 47 of
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                                                                          FEE-Q4-1992 ll:31am 92-03243S

                                                                                                  ORB        7109Pil220
              IN THE CIRCUIT COURT FOR PALM BEACH COUNTY,                                             FLORIDA




  IN    RE:   ESTATE OF                                         PROBATE DIVISION


  DONALD A.       MACDONALD,           JR. ,                    File Number                90-1935 CPM

                 Deceased .                                     Division              Vaughn J.            Rudnick

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                                                                                                              P
                                                                                                                      ••      IP*
                                                                                                                                         -n
                                                                                                                 :
                                                                     OF    SUBMERGED             LAND
                                                                                                                              ro         r



              THIS   CAUSE,           having         come     before        the        Court          on    tff.e ;

  for Order Authorizing Sale of Submerged Land, and the Cour
                                                                                                             ">       i'-..     OS

                                                                                                                              tiding
                                                                                                                                         fc> _


                                                                                                                     1 *           Jf"
  been    advised     that        formal       notice         was    sent        to    all       interested                parties

  and    no   objections         having        been     filed,        it    is    hereby

              ORDERED          AND     ADJUDGED          that        Marion           A.    MacDonald,                     Jr.,          as

  personal       representative                *of      the    Estate         of           Donald          MacDonald,                    Is

  hereby      authorized          to    sell     the        submerged         land          legally         described                    on

  Exhibit      "A"   attached           hereto        to    Oinali    Riser,          on                             set        forth

  in    the   Petition.
                                                                                       A
              DONE AND ORDERED in Chambers tlJl                            = <21 day of January, 1992.

                                                                     i»"' ^                            VfiCir w A*r:0 .
                                                                     GE     VA/1 G           .   R'         CK


 Copies       furnislied:

 Judy H. Oliver, Esquire
 Attorney for Personal Representative
 Moyle,       Flanigan,         Katz,
         FitzCierald       b    Sheelian,       P. A.
  Post    office     Box       3888
 West     palm   Beach,         Florida         334021




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Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 48 of
                                     143




                                                                ORB    71 OV P9 1221

                       LEGAL DESCRIPTION



            A strip of     land    approximately 300   feet in
            width from     north    to south,  extending   from
            the westerly     right-of-way     line of   State   Road
            703 to the water's edge of Lake Worth,        lying
            between   two   east    and    west    lines,    the
            northerly    boundary     line    thereof     being
            parallel   to, and   3,465    feet   (measured    at
            right  angles)  north   of   the   south   boundary
            line of Sections    22   and  23  in Township 42
            South,   Range  43   East,    as    determined    by
            producing the south boundary line of Section
            21  in   said  Township     and   Range    eastward
            across  the waters of Lake Worth and the land
            lying  between   Lake   Worth  and  the  westerly
            right-of-way line of State Road 703 to said
            westerly   right-of-way    line  of   State  Road
            703,   and   the  southerly    boundary   thereof
            being parallel to,    and 12,900 feet (measured
            at right angles) south of the north line of
            Government   Lot  1,  Section   10,  Township  42
            South,   Range    43    East,    together    with   all
            riparian    and    littoral       rights     thereunto
            appertaining;     together       with    all     right,
            title,   interest,    claim     and  demand     of   the
            first  party   in  the    submerged land       in Lake
            Worth  lying    between     the    north  and      south
            boundary lines of      the above described tract
            when produced west       to   the channel      of   Lake
            Worth.




                          EXHIBIT    "A"




                                                                           RECORD VERIFIED
 3153k/wp
                                                                        PALM BEACH COUNTY. FLA.
                                                                          CLERK CIRCUIT COURT
    Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 49 of
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Property ApprSwn Pral MnfcMun (R*o) NumiwW




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                                                PERSONAL     REPRESENTATIVE'S          DEED


                 THIS        INDENTURE,              made    and       entered     into      on     the         day    of
          December,              1991,           between       MARION       C.     MACDONALD,             as   Personal
          Representative  of   the  Estate  of  DONALD   A.  MACDONALD,                                            JR.,
          Deceased, Grantor,  and OMAH KISER, Grantee, whose address is                                            6777
          Winkler Road, Apartment F-121, Fort Myers, Florida  33919.

                                                       WITNESSETH:


              That the said Grantor, pursuant to the Order of the Circuit
          Court of  the Fifteenth Judicial Circuit,  in and for    Palm   Beach
          County, Florida, Probate Division, dated January 27, 1992, and in
          consideration of  the sum of Ten Dollars  ($10.00)  and other good
          and  valuable  consideration,  to Grantor  in  hand   paid   by   the
          Grantee,          the     receipt          whereof      is    hereby acknowledged,              has granted,
          bargained  and  sold  to  the said  Grantee,  Grantee's  heirs                                              and
          assigns, forever, the following described land, situate, lying                                              and
          being in the County of Palm Beach, State of Florida, to wit:

                           A    strip           of   land    approximately         300       feet    in
                           width         from        north   to    south,        extending         from
                           the     westerly            right-of-way       line    of   State Road
                           703 to the water's edge of Lake »*t>rth, lying
                           between   two   east    and    west    lines,   the
                           northerly    boundary     line    thereof     being
                           parallel   to,  and   3,466   feet   (measured   at
                           right  angles)   north of    the south     boundary
                           line of   Sections 22 and 23 in Township 42
                           South,   Range   43  East,     as   determined   by
                           producing             the   south   boundary      line      of    Section
                           21       said
                                    in    Township  and Range                               eastward
                           across the waters of Lake Worth and                              the land
                           lying  between  Lake Worth and  the                              westerly
                           right-of-way line of State Road 703 to said
                           westerly    right-of-way      line    of   State    Road
                           703,   and    the   southerly       boundary    thereof
                           being parallel to, and 12,900 feet (measured
                           at right angles) south of the north line of
                           Government    Lot   1,  Section 10,       Township    42
                           South,   Range    43   East,     together    with    all
                           riparian     and    littoral       rights    thereunto
                           appertaining;      together       with    all    right,
                           title,   interest,     claim    and   demand    of   the
                           first  party in     the submerged land in Lake
                           Worth   lying    between    the     north   and    south
                           boundary   lines of the      above described tract




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      Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 50 of
                                           143




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                       when     produced      west    to    the     channel        of     Lake
                       Worth.

                       SUBJECT       TO     taxes    for the   year   1991 and
                       subsequent             years,       and      easements,
                       restrictions,          reservations ,  limitations  and
                       conditions of         record, if any.



            TO HAVE AND TO HOLD the same unto the said Grantee, Grantee's
        heirs and assigns,  in as full and ample manner as the same was
        possessed or enjoyed by the Decedent in the Decedent's lifetime.

               AND Grantor does covenant to and with the Grantee,                                      her      heirs
        and     assigns, that in all things preliminary to and in                                      and      about
        the    sale    and    this   conveyance,       the     Orders       of    the    above-named            Court
        and    the     laws     of    the    State     of    Florida           have     been     followed           and
        complied with in all              respects.

               IN WITNESS WHEREOF,            the Grantor         has     executed       this    Deed         the   day
        and    year    first    above written.

        Signed,       sealed and delivered
        in    the    presence of :

                                                                                              f/rS uX/'
                                                             MA^R 1^314    ,    haCDOKald ,      a^r      PcrsDna 1
                                                             Representative of                tin Estate of
                                                             DONALD A.          MACDONALD,       JR.




        STATE    OF    FLORIDA                )
       COUNTY        OF PALM BEACH            )

                 he   foregoi    i  punent    was  acknowledged   before  me
        this
                -dday of Jw
        Representative of the Estat
                                    fl"r by MARION C. MACDONALD, as Personal
                                     Of DONALD A. MACDONALD, JR., Deceased,
        on behalf of the Estate, and she is personally known to me and did
        take    an    oath.

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               Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 51 of
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                                                                                                         ORB        7119 H 1 960



                            IN   THE CIRCUIT COURT              FOR PALM        BEACH    COUNTY,             FLORIDA




                IN    RE:   ESTATE OF                                    PROBATE        DIVISION


                DONALD A.        MACUONALD,    JR.,                      File    Number             90-1935       CPM


                              Deceased .                                 Division            Vaughn J,            Rudniuh
                                                                                                                                                     \P.
                                                                                                                    a                                ro
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                            THIS CAUSE,       having           come before        i£n
                                                                                   the Court                 on    tli.e : PetS:
                                                                                    &                                                   .                  <3
                Cor Order Authorizing Sale of Submerged Land, and the Coucfc. halting
                                                                                                                                    ,       *


                been advised        that    (oimal    notice was           sent         to all         interested                                   parties

                and    no objections having been                  filed,    it     is    hereby

                            ORDERED    AND    ADJUDUEP            that     Marion            A.      MacDoiiaid,                                Jr.,            as

                personal         representative           of     the     Estate         of        Donaid          HacDonald,                                    is

                hereby authorized to               sell    the submerged               land         legally described                                           on

                Exhibit      "A"   attached        hereto       to omah     Riser,           on                                         set                forth


                in    the Petition -
                                                                                              t*.
                            DONE AND    ORDERED      in Chambers           tl    a ttjL day of Januarf,                                                    1992.




                                                                                  Hb                          Aifar * "cl
                                                                           HIE V                      . IR         CK


                Copies      furnished:

                Jody H. Oliver, Esquire
                Attorney for Persona) Represent- at i v«»
                Moyie,      Flaniym,       RHtz.
                    Fitztiecald & Sheelian,               P. A.
                Post Office Bo* 3P68
                West Pain Beach, Florida                  334 02.1


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Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 52 of
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                          LEGAL-UESCJB IKXLQN



            A strip of   land  approximately  300 feet in
            width  from north   to south,  extending  from
            the westerly right-of-way line of State Road
            703 to the water's edge of Lake North, lying
            between   two   east    and    west    lines,   the
            northerly    boundary     line    thereof     being
            parallel   to,  and   3,465   feet   (measured   at
            right  angles)   north   of  the   south   boundary
            line    of    Sections    22     and     23   in     Township      42
            South,  Range        43  East,   as             determined   by
            producing the       south boundary            line of Section
            21  in   said       Township   and            Range    eastward
            across the waters of Lake Worth and                        the land
            lying  between Lake  Worth and  the                        westerly
            right-of-way line of State Road 703 to said
            westerly   right-of-way     line    of   State  Road
            703,   and   the   southerly      boundary   thereof
            being parallel    to,  anil 12,900 feet (measured
            at right angles)     south of the north line of
            Government   Lot   1,  Section     10,  Township  42
            South,   Rauge   43   East,    together    with  all
            riparian    and    littoral      rights    thereunto
            appertaining;          together          with        all     right,
            title,       interest,     claim       and     demand       of    the
            first    party    in     the    submerged          land    in    Lake
            Worth   lying  between   the   north  and   south
            boundary lines of the above described tract
            when  produced  west  to   the  channel  of  Lake
            Worth.




                             EXHIBIT       "A"




                                                                                    J*
                                                          Sv.; - .


                                                                              " "            '



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              PALM BEACH COUNTY. HA              *
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           Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 53 of
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     ' Property Appraiser* Perce) kterlilkaikm (FcfioJ Humberts):




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                   3634k


                                                             PERSONAL REPRESENTATIVE'S DEED

                  ~^Ll THIS              INDENTURE,                  made        and entered          into      on    the /         day of
                   fTrrrmlrar ,              199^,             between            MARION       C.      MACDONALD,            as    Personal
                   Representative                       of          the     Estate       of     DONALD          A.     MACDONALD,        JR.,
                  Deceased, Grantor,  and OMAH RISER,                                         Grantee, whose            address     is   6777
                  Winkler Road, Apartment F-121, Fort                                         Myers, Florida            33919.

                                                                      WITNESSETH:


                      That the said Grantor, pursuant to the Order                                                      of the Circuit
                  Court of the Fifteenth Judicial Circuit,  in and                                                      for Palm Beach
                  County, Florida, Probate Division, dated January 27,   1992,  and in
                  consideration of  the sum of Ten Dollars  ($10.00)  and other good
                  and  valuable  consideration,  to Grantor  in  hand   paid   by  the
                  Grantee,             the       receipt             whereof       is    hereby      acknowledged,           has   granted,
                 bargained  and  sold   to  the  said Grantee,  Grantee's heirs                                                          and
                 assigns, forever,  the following described land, situate, lying                                                         and
                 being in the County of Palm Beach, State of Florida, to wit:


                                      A  strip of  land approximately  300  feet   in
                                      width from  north  to south,  extending   from
                                      the westerly right-of-way line of State Road
                                      703       to     the water's               edge    of   Lake     Worth,        lying
                                      between                two          east     and        west     lines,         the
                                      northerly     boundary    line    thereof    being
                                      parallel   to,  and   3,465   feet   (measured  at
                                      right  angles)   north of    the   south  boundary
                                      line of   Sections 22 and 23 in Township 42
                                      South,   Range   43   East,   as   determined   by
                                      producing the south boundary line of Section
                                      21  in   said   Township    and  Range    eastward
                                      across the waters of Lake Worth and                                    the land
                                      lying  between Lake Worth  and  the                                    westerly
                                     right-of-way line of State Road                                   703 to        said
                                     westerly  right-of-way line  of                                    State        Road
                                     703,            and        the        southerly          boundary        thereof
                                     being parallel to, and 12,900 feet (measured
                                     at right  angles) south of the north line of
                                     Government  Lot  1, Section  10, Township 42
                                     South,   Range     43   East,    together    with     all
                                     riparian     and     littoral      rights     thereunto
                                     appertaining;       together      with    all     right,
                                     title,   interest,      claim   and   demand     of   the
                                     first  party    in   the submerged      land    in Lake
                                     worth  lying     between     the    north  and      south
                                     boundary   lines of the above described tract



            THIS DOCtMENTS IS BEING RE—RECORDED TO MSFKT DATE OMPTIED FROM
            PAIGE 1 CP DEED (ORIGINALLY DATE ONLY APPEARED IN NOXARIZftTICN) .



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         Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022
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                               when     produced             west    to     the      channel         of     Lake
                               worth.    .

                               SUBJECT        TO     taxes           for     the        year        1991     and
                               subsequent      years ,    and      easements,
                               restrictions,  reservations,  limitations  and
                               conditions of record, if any.



                    TO HAVE AND TO                 HOLD the same unto the said Grantee, Grantee's
                heirs  and assigns,                 in as  full and ample manner as the same was
                possessed or          enjoyed       by   the Decedent              in    the Decedent's            lifetime.

                       AND    Grantor        does    covenant          to    and     with          the    Grantee,       her   heirs
                and    assigns,        that    in    all       things        preliminary             to    and     in    and   about
                the    sale     and    this    conveyance,            the     Orders          of    the    above-named         Court
                and     the     laws    of     the       State        of     Florida          have        been     followed        and
                complied with in             all    respects.

                       IN    WITNESS    WHEREOF,         the        Grantor       has    executed          this    Deed      the   day
                and year       first    above written.

                Signed, sealed and delivered
                in the presence of:



                                                                            MARION C. MACDONALD, as Personal
                                                                            Representative of the Estate of
                                                                            DONALD       A.    MACDONALD,          JR.




                STATE    OF FLORIDA                      )
                COUNTY OF       PALM    BEACH            )

                               he     foregqi                instrument           was         acknowledged               before      me
                this      day of                by MARION C. MACDONALD, as Personal
                Representative of the Estate of DONALD A. MACDONALD, JR., Deceased,
                on behalf of the Estate, and she is personally known to me and did
                take    an    oath.
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                 Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 55 of
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                                 IN    THE   CIRCUIT       COURT       FUR PALM          BEACH           COUNTY,        FLORIDA




                    IN    RE:   ESTATE       OF                                    PROBATE          DIVISION


                   DONALD A.          KACDONALD,        JR.,                       I'Ale Number               90-1935 CPM

                                   Deceased .                                      Division              Vaughn J.            Rudnlcli
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                                THIS    CAUSE,       having           come       before        the        Court         on    tl!,e i ' Pe
                                                                                                                                                 c?         CJ
                   tor     Order      Authorizing         Sale        ot    Submerged          Land,           and     the* Cou^t^ lining
                                                                                                                                      -   K         r
                   been     advised      that      formal        notice          was   sent         to     aii        interested              parties

                   and     no   objections         having      been        filed,       it     is    hereby

                                ORDERED       AND       ADJUDGED            that       Marion            A,    MacDoneld,                     Jr.,      as

                                                                                                                                                                   --

                   personal           representative             of        the    Estate        of            Donald         MacDonald,                 is

j.
                   hereby       authorized         to     sell       the    submerged           land           legally        described                 on

                   Exhibit       "A"    attached          hereto       to    Otnah      Kiser,           on     . i
                                                                                                                                      set        furth

                   in     the Petition.

                                DONE AND ORDERED in Chambers                           tills   c37 day of Januarj, 1992.

                                                                                       JQE VAMGf.i-:'            .    RUSRICK

                  Copies        furnished:

                  Jody     H.   Oliver,       Esquire
                  Attorney        for    Personal         Representative
                  Moyle,        Flaniyan,         Katz,
                          FitsGerald & Sheehau,                  P. A.
                  Post     Office Box 3988
                  West     Palm Beach,            Florida        334 021
                                                                                                         \ RECORDER'S M£kO: Lability
                                                                                                         ! <tf Writing, Typing or Printing
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Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 56 of
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*                                                                            ORB      71 19 pg 1961


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           A strip   of  land approximately    300  feet   in
           width  from north to   south,    extending   from
           the westerly right-of-way line of State Road
           703 to the water's edge of Lake Worth,      lying
           between   two   east  and    west    lines,    the
           northerly    boundary   line    thereof     being
           parallel to,  and  3, 465 feet {measured at
           right angles)  north of the south boundary                                  '
           line of Sections 22 and 23 in Township 42
           South,  Range          43  East,   as         determined  by
           producing the         south boundary        line of Section
           21  in   said         Township   and        Range   eastward
           across the waters of Lake Worth and                     the land
           lying  between Lake  Worthy and. the                    westerly
           right-of-way line of State Road                   703 to          said
           westerly  right-of-way line  of                    State          Road
           703,      and  the   southerly boundary  thereof
           being     parallel to, and 12,900 feet (measured
           at right angles) south of the north line                           of
           Government Lot  1, Section  10, Township                           42
           South,   Range        43   East,         together    with  all
           riparian    and         littoral           rights    thereunto
           appertaining;          together          with     all     right,
           title, interest, claim  and   demand                     of the
           first party in the  submerged   land                    in Lake
           Worth      lying      between      the    north     and      south
           boundary      lines    of    the   above    described        tract
           when      produced    west    to    the    channel      of    Lake
           Worth ,




                              EXHIBIT   "A"




                                                                                    A"'"'




              4 RECORD VERIFIED
              PALM BEACH COUNTY, FLA


                  CLERK CIRCUIT COURT                                   "J



                   RECORD VERIFIED                                                          A- '   'y
                                               By
             PALM BEACH COUNTY. FLA
3153k/wp
               CLERK CIRCUIT COURT
 Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 57 of
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                                                                         CFN     20140067630
                                                                         OR    BK    26631      PG    1346
                                                                         RECORDED 02/2S/2D14 16: 16J 25
                                                                         Pal* Beach County, Florida

This instrument was prepared by                                          ANT 24,000.00
and should be returned to:                                               Doc Stanp 166.00

Allan Michaels, an employee of                                           Sharon R.    Bock, CLERK 6 COMPTROLLER
Title Source USA, Inc.                                                   Pgs 1646    - 1647;   (2pgs>

PO Box 950580
Lake Mary, Florida 32795

                                     Warranty Deed To Trustee
        The Grantor(s) OMAH KISER whose address is 428 San Marino Drive, Lady Lake, FL
32159, for and in consideration of Ten Dollars, and other good and valuable considerations in hand paid,
conveys, grants, bargains, sells, aliens, remises, releases, confirms and warrants under provisions of
Section 689.07 1 F.S
        Unto ike RENEGADE TRUST. dated 2/3/14 with Fane Lounan, Trustee whose
address is 2913 Avenue F, Riviera Beach, Florida 33404, the following described real estate in the
County of Palm Beach, State of Florida to wit:
A STRIP OF LAND APPROXIMATELY 300 FEET IN WIDTH FROM NORTH TO SOUTH, EXTENDING FROM THE
WESTERLY RIGHT-OF-WAY LINE OF STATE ROAD 703 TO THE WATER'S EDGE OF LAKE WORTH, LYING BETWEEN
TWO EAST AND WEST LINES, THE NORTHERLY BOUNDARY LINE THEREOF BEING PARALLEL TO, AND 3,465 FEET
(MEASURED AT RIGHT ANGLES) NORTH OF THE SOUTH BOUNDARY LINE OF SECTIONS 22 AND 23 IN TOWNSHIP
42 SOUTH, RANGE 43 EAST, AS DETERMINED BY PRODUCING THE SOUTH BOUNDARY LINE OF SECTION 21 JN
SAID TOWNSHIP AND RANGE EASTWARD ACROSS THE WATERS OF LAKE WORTH AND THE LAND LYING
BETWEEN LAKE WORTH AND THE WESTERLY RIGHT-OF-WAY LINE OF STATE ROAD 703 TO SAID WESTERLY
RIGHT-OF-WAY LINE OF STATE ROAD 703, AND THE SOUTHERLY BOUNDARY THEREOF BEING PARALLEL TO,
AND 12,900 FEET (MEASURED AT RIGHT ANGLES) SOUTH OF THE NORTH LINE OF GOVERNMENT LOT 1, SECTION
10, TOWNSHIP 42 SOUTH, RANGE 43 EAST, TOGETHER WITH ALL RIPARIAN AND LITTORAL RIGHTS THEREUNTO
APPERTAINING; TOGETHER WITH ALL RIGHT, TITLE, INTEREST, CLAIM AND DEMAND OF THE FIRST PARTY IN
THE SUBMERGED LAND IN LAKE WORTH LYING BETWEEN THE NORTH AND SOUTH BOUNDARY LINES OF THE
ABOVE DESCRIBED TRACT WHEN PRODUCED WEST TO THE CHANNEL OF LAKE WORTH..
THE GRANTOR HEREIN WARRANTS THAT THE ABOVE PROPERTY DOES NOT CONSTITUTE HER HOMESTEAD, NOR
THAT OF HER SPOUSE, IF ANY, AND SAID PROPERTY IS NOT ADJACENT TO HER HOMESTEAD

        Together with all the tenements, hereditaments and appurtenances thereto, belonging or in anywise
appertaining.
        To have and to hold the said premises in fee simple forever, with the appurtenances attached thereto
upon the trust and for the uses and purposes herein and in said Trust Agreement set forth.
        Full power and authority granted to said Trustee, with respect to the said premises or any part of it, and
at any time or times, to subdivide said premises or any part thereof, to dedicate parks, streets, highways or alleys
and to vacate any subdivision or part thereof, and to resubdivide said property as often as desired, to contract to
sell, to grant options to purchase, to sell on any terms, to convey either with or without consideration, to donate,
to mortgage, pledge or otherwise encumber said property, or any part thereof, to lease said property or any part
thereof, from time to time, in possession or reversion by leases to commence now or later, and upon any terms
and for any period or periods of time and to renew or extend leases upon any terms and for any period or periods
of time and to amend, change, or modify leases and the terms and provisions thereof at any time hereafter, to
contract to make leases and to grant options to lease and options to renew leases and options to purchase the
whole or any part of the reversion and to contract respecting the manner of fixing the amount of present or
future renters, to partition or to exchange said property or any part thereof for other real or personal property, to
grant easements or changes of any kind, to release, convey or assign any right, title or interest in or about or
easement appurtenant to said premises or any part thereof, and to deal with said property and every part thereof
in all other ways and for such other considerations as it would be lawful for any person owning the same to deal
with the same, whether similar to or different from the ways above specified, at any time or times hereafter.




       Book26631/Page1 846                                                        Page 1 of 2
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                                       143



           In No Case shall any party dealing with the said trustee in relation to said premises, to whom said
premises or any part thereof shall be conveyed, contracted to be sold, leased or mortgaged by said trustee, be
obliged to see to the application of any purchase money, rent, or money borrowed or advanced on said premises,
or be obliged to see that the terms of this trust have been complied with, or be obliged to inquire into the
necessity or expediency of any act of said trustee, or be obliged or privileged to inquire into any of the terms of
said trust agreement; and every deed, mortgage, lease or other instrument executed by said trustee in relation to
said real estate shall be conclusive evidence in favor of every person relying upon or claiming under such
conveyance, lease or other instrument, (a) that at the time of delivery thereof, the trust created by this Indenture
and by said trust agreement was in full force and effect, (b) that such conveyance or other instrument was
executed in full accordance of the trust's conditions and limitations contained herein and in said trust agreement
or in some amendment thereof and binding upon all beneficiaries thereunder and (c) that said trustee was duly
authorized and empowered to execute and deliver every such deed, trust deed, lease, mortgage or other
instrument.
           The Interest of each and every beneficiary hereunder and of all persons claiming under them or any of
them shall be only in the earnings, avails, and proceeds arising from the sale or other disposition of said real
estate, and such interest is hereby declared to be personal property. No beneficiary hereunder shall have any
title or interest legal or equitable, in or to said real estate as such, but only an interest in the earnings, avails and
proceeds thereof as aforesaid.
           And the grantor hereby covenants with said grantee that the grantor is lawfully seized of said land in fee
simple; that the grantor has good right and lawful authority to sell and convey said land; that the grantor hereby
fully warrants the title to said land and will defend the same against the lawful claims of all persons
whomsoever, and that said land is free of all encumbrances, except taxes accruing subsequent to December 31,
2013.
           In Witness Whereof, the said grantor(s) has (have) hereunto set his (their) hands and seals this
02/08/14.
Signed sealtd and delivered in the y-rcsence oj:




Witness:     ,   Mi                                                                    OMAHKISER



Witness: f)oT\t\a JbrftlVi BufZ-

State of Florida
County of Palm Beach                                                                          e           /\h
The foreooim instrument w                        acknowledged before me this                              by OMAH KISER,                                    who are
pe                         to me or Q who have produced th e^gh^^t^^ses^^d^ntification .
                                                                                                                                                                (SEAL)

           w ¥                                                           My Commission Expires:
                                                                                                                                                 _7_(Prim Name)




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                                                        CFN 20160151491
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                                                                                                            OR BK 28266 PG 1544

15                                                                                                          RECORDED 05/02/2016 13:39:08
                                                                                                            Palm Beach County, Florida
                                                                                                            AMT 10.00
                                                                                                             DEED DOC 0.70
                                                                                                            Sharon R. Bock
      This instrument was prepared by or under the supervision of and after recording                       CLERK & COMPTROLLER
      return to:                                                                                            Pgs 1544-1546; (3Pgs)

      Name:        Brcnda Fcmande2, Esq.
      Address:     Greenbcrg Traurig, P.A.
                    333 SE 2nd Avenue, Miami, FL 33 13 1

      Property Appraiser's Parcel
      ID#: 56-43-42-22-00-001-0200




                                                                                        (Space Reserved for Clerk of ihe Court)




                                                           QUIT CLAIM DEED

                   THIS QUIT CLAIM DEED is made the 27th day of April, 2016, between FANE
     LOZMAN, TRUSTEE OF THE RENEGADE TRUST DATED FEBRUARY 3, 2014,
     ("Grantor" or "First Party"), whose address is 2913 Ave. F, Riviera Beach, FL 33404, and
     FANE LOZMAN, a single man, ("Grantee" or "Second Party") whose address is 2913 Ave. F,
     Riviera Beach, FL 33404.

                                                           WITNESSETH

             GRANTOR, in consideration of Ten and No/100 Dollars ($10.00) and other good and
     valuable consideration paid by Grantee, the receipt and sufficiency of which are hereby
     acknowledged, does hereby remises, releases and quit-claims unto Grantee, and Grantee's heirs,
     successors and assigns forever, all of the right, title, interest, claim and demand which Grantor
     has in the following property located in Palm Beach County, Florida ("Property"), to-wit:

                    See Exhibit "A" attached hereto and by this reference made a part hereof.

             TOGETHER with all the tenements, hereditaments, easements and appurtenances
     thereto belonging or in any way appertaining.

                   SUBJECT TO, taxes and assessments for the current year and subsequent years and
     easements, restrictions, reservations, limitations and other matters of record, without hereby
     reimposing the same.

                                               (signatures appearing on following page)


     NOTE TO RECORDER AND TAX EXAMINER: THIS CONVEYANCE IS NOT SUBJECT TO THE
     PAYMENT OF DOCUMENTARY STAMP TAX PURSUANT TO FLORIDA ADMINISTRATIVE CODE
     RULE 12B-4.013(28)(e) AS THE PROPERTY BEING CONVEYED IS 100% OF THE GRANTEE'S
     BENEFICIAL OWNERSHIP INTEREST AS A TRUST BENEFICIARY IMMEDIATELY BEFORE THIS
     CONVEYANCE.

     MIA 185258273v2
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                                                       CFN 20160151491
                                     143
                                                                                                     BOOK 28266 PAGE 1545
                                                                                                     2 OF 3




             IN WITNESS WHEREOF. Grantor lias; executed -and delivered this Quit Claim Deed
   the day arid year first above written.



   Signed;, sealed audklel ivered
   in the presence of; |
        .w
      /
             \\          ft
                                                                             ,      £Z-£.I
   Witness S.ignrture \.                   W-                                bane .LiOzOiaiVfrusteo of die Renegade
      \       V >40 Sg.                         ,4V;Fd|£_                    Trust dated Febi'uary 3. 2014
                  of First Wi#ssO
     P it.                *' iSQIC w
                                       ;   ^"wv%%    v.w^.'.

   Witness Signature
    ?C;/Rv^p:^ (        i f. :Y


   Print Name of Second Witness



   STATE OF M                                                  1
                                                    ri
                     (IMS                                      )


   The foregoing instalment was acknowledged, before me                                    .. day ol April.... 2016, by Fane
   Lozman, as- Trustee. ofthe Renegade Trust dated February >s 2014, on behalf of such Trust who
   ts jpersSrwlfy known §me- or has produced a                                          'LftWlMLj.                         „
   as identification.

                                                                                                 JW
                                                                                                                          V.



             ("NOTARY SEAL)                                                                             i>                     v
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                                                                    My commission expires on:
                                                                    Commission Number:




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Case 9:22-cv-80118-DMM Document 70-1 Entered on FLSD Docket 09/12/2022 Page 61 of
                                                       CFN 20160151491
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                                                                              BOOK 28266 PAGE 1546
                                                                             3 OF 3




                                             EXHIBIT "A"

                                        LEGAL DESCRIPTION



   A strip of land approximately 300 feet in width from North to South, extending from the
   Westerly right-of-way line of State Road 703 to the water's edge of Lake Worth, lying between
   two East and West lines, the Northerly boundary line thereof being parallel to, and 3,465 feet
   (measured at right angles) North of the South boundary line of Sections 22 and 23 in Township
   42 South, Range 43 East, as determined by producing the South boundary line of Section 21 in
   said Township and Range Eastward across the waters of Lake Worth and the land lying between
   Lake Worth and the Westerly right-of-way line of State road 703 to said Westerly right-of-way
   of State Road 703, and the Southerly boundary thereof being parallel to, and 12,900 feet
   (measured at right angles) South of the North line of Government Lot 1, Section 10, Township
   42 South, Range 43 East, together with all riparian and littoral rights thereunto appertaining;
   together with all right, title, interest, claim and demand of the first party in the submerged land in
   Lake Worth lying between the North and South boundary lines of the above described tract when
   produced West to the channel of Lake Worth.




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                                                                                     Palrn Beach County, Florida
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                                                                                     Joseph Abruzzo
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          IN THE CIRCUIT COURT OF THE
                                                                                     Pgs 1456-1459; (4Pgs)
          FIFTEENTH JUDICIAL CIRCUIT

          IN A|N D FOR PALM BEACH COUNTY,
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           STr    OF FLORIDA DEPARTMENT
           OF ENVIRONMENTAL PROTECTION,

                    Praintiff,


           v.
                          ©.                                             Case No.: 2021-CA-004564
                                                                         Division:   AJ
          FANE LOZMA


                    Defendant.




                                      c^j>:CONSENT FINAL JUDGMENT
                    Plaintiff, State of Flotiriii D epartment of Environmental Protection ("Department") and

          Defendant, Fane Lozman, agree (^pf^nsent to the entry of this Consent to Final Judgment

          ("Judgment"), and the Court, havin^fpHewed the pleadings and the record, and being otherwise

          duly informed, does hereby find as fo

                    1.     This Court has jurisdictii      the subject matter and over the parties to this action.

                    2.     The Department is the administrative agency of the State of Florida charged with

          the power and duty to protect Florida's environmental resources under Chapter 373 and 403,

          Florida Statutes, and the Florida Administrative Code Rules promulgated thereunder.

                    3.     Defendant, Fane Lozman, is an individual who owns certain real property located

          at 5101 N Ocean Ave, Rivera Beach, Florida ("Property"). Mr. Lozman is a "person" within the


          meaning of Sections 403.031, and 373.019, Florida Statutes.

                    4.     The Property is mostly submerged land within the Lake Worth Lagoon ("Lagoon"),


          with a smaller vegetated area consisting of mostly mangroves along its landward boundary.

                    5.     On December 1, 2020, pursuant to section 403.121(2), Florida Statutes, the


          Department issued a Notice of Violation, Orders for Corrective Action, and Administrative Penalty

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     9:22-cv-80118-DMM
          NO.: 2021-CA-4564 Document 70-1 Entered on FLSD Docket 09/12/2022 Page 127 of
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     Assessment ("NOV") against Defendant. The NOV contained findings of fact and conclusions of

     law which determined that the concrete blocks placed in the Lagoon by Defendant constituted the

     Unauthorized filling of surface waters on the Property within the Lagoon. The NOV required the
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     re'   itdof the structures from the Property within 20 days.
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                     On February 10, 2021, the Department issued a Final Order adopting and making

     final the findings of fact and conclusions of law of the NOV.

             7.          April 7, 2021, the Department filed the Petition for Enforcement in this action

     to enforce the te       the Final Order and NOV against Defendant.

             8.      On Augrj^t 16, 2021, the Court issued an Order Granting the Department's Motion

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     for Temporary Injuncti<^;i$quiring Defendant to remove any structures remaining at the Property

     and prohibited placement,  m       k, or storage of any additional structures or fill on the Property


     until resolution of the case orxikftth further written order of the Court.

             9.      On or about September 7, 2021, Defendant removed the structures from the

     Property.
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             10.    The Department, for ah^^^nsiderati on of the complete and timely performance

     by Defendant of all the obligations agreed to in this Judgement, hereby conditionally waives its

     right to seek judicial imposition of damages or civil penalties for alleged violations up to the date

     of the filing of this Judgement as well as the collection of administrative penalties and costs

     assessed in the underlying administrative proceeding. This waiver is conditioned upon Defendant's


     complete compliance with all of the terms of this Judgement.

             11.     This document constitutes the entire agreement and understanding of the parties to


     this Judgment concerning settlement of the matters addressed herein and there are no




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     representations, warranties, covenants, terras, or conditions agreed upon between the parties other

     than those expressed in this Judgment.


     Vhef^ore, this Court does hereby ORDER AND ADJUDGE, as follows:
                                                       .                       .                                                     .   .




        'A:' Defendant shall not fill or deposit any material by any means on or within the Property
         W
                     rs or until:

             W                 final judgment in Fane Lozman v. State of Florida Department of Environmental
                i-   >


                         (^^)tection, and the Board of Trustees of the Internal Improvement Fund of the State
                          5* ida, Case No. 2021-CA-004143, or subsequent action for declaratory relief
                          of
                               c>:

                          is issr^rf^uthorizing fill on the Property or;

                                     Six)!
               ii.        A valid fjBffipermit is issued by the Department authorizing fill on the Property or;


              iii.
                                 •      :z2>° jfying an exemption is issued by the Department.
                          A written owtc.


        B.   This Court shall retain            diction to enforce the terms of this Consent Final Judgment.


             ORDERED in West Palr^ieach, Palm Beach County, Florida.
                                                 <2>
                                                   22 cwoasewcotMB q&7o^ci2?|
                                                           ^           ^^Maxfn'e^heosman                          Circuit Judge
                                                                   .•> ijft a. i   v c.   i.i r r i : c   i.' r   t u c    :> .i ~



                                                       502021CA004564XXXXMB                               06/30/2022
                                                       Maxine Cheesman
                                                       Circuit Judge




    Matthew J. Knoll, Esq. Counsel for FDEP[Matthew.Knoll a FloridaDEP.L-ovl

    Fane Lozman, 2913 Avenue F, Riviera Beach, Florida 334Q4.ffaneD)fanelozman.com1




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              CONSENT TO ENTRY WITHOUT FURTHER NOTICE OR HEARING
                         AND TO BE BOUND BY TERMS AND CONDITIONS


             The undersigned hereby agree and consent to the court's entry of the above Consent Final
     '^fdnffipnt without further notice or hearing and stipulate to the terms and conditions thereof.



                           E LOZMAN



                                                                                 June 22, 2022
     Fane                                                                          Date

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                   0
     FOR THE PLA            FF STATE OF FLORIDA
     DEPARTMENT O^gTVIRONMENTAL PROTECTION


                                                                                    June 22, 2022
                               Ms
     Jason Andreotta            m                                                Date
     Southeast District Director


     CC:
                                    @
     Matthew Knoll, Esq.
     Fane Lozman
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    NOTE: "SET TRAVERSE COR" IS
    THE SAME TERM USED FOR A
    MEANDER CORNER/SECTION
    CORNER USED BY W.J.RAYES,
    DEPUTY U.S. SURVEYOR IN 1858
    AND ALSO EVIDENCED BY THE
    SECTION CORNER SYMBOL.
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